Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 1 of 179




                 Exhibit 1
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 2 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 3 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 4 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 5 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 6 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 7 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 8 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58      Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 9 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 10 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 11 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 12 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 13 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 14 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 15 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 16 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 17 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 18 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 19 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 20 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 21 of 179




                 Exhibit 2
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 22 of 179

1                SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                       FOR THE COUNTY OF ALAMEDA
3
4     _____________________________
                                   )
5     SUSAN BARKLEY,               )
                                   )
6              Plaintiff,          )
                                   )
7         vs.                      ) No. RG20066950
                                   )
8     JOHNSON & JOHNSON, et al.,   )
                                   )
9              Defendants.         )
      _____________________________)
10
11
12
13
14                  REMOTE DEPOSITION OF SUSAN S. BARKLEY
15                          ZOOM VIDEOCONFERENCE
16                        Monday, October 26, 2020
17                                Volume I
18
19
20
21    Reported by:
      VALERIE D. GRANILLO
22    CSR No. 11469
      Job No. 4296786
23
24
25    PAGES 1 - 110

                                                                    Page 1

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 23 of 179

1                SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                        FOR THE COUNTY OF ALAMEDA
3
4     _____________________________
                                              )
5     SUSAN BARKLEY,                          )
                                              )
6                  Plaintiff,                 )
                                              )
7          vs.                                ) No. RG20066950
                                              )
8     JOHNSON & JOHNSON, et al.,              )
                                              )
9                  Defendants.                )
      _____________________________)
10
11
12
13
14                       Remote Deposition of SUSAN S. BARKLEY,
15    Volume I, taken on behalf of Plaintiff, via Zoom
16    Videoconference, beginning at 10:23 a.m. and ending at
17    2:03 p.m., on Monday, October 26, 2020, before VALERIE
18    D. GRANILLO, Certified Shorthand Reporter No. 11469.
19
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21
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23
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25

                                                                    Page 2

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 24 of 179

1     APPEARANCES:
2
3     For Plaintiff:
4            KAZAN MCCLAIN SATTERLEY GREENWOOD
5            BY:     MARK SWANSON
6            Attorney at Law
7            55 Harrison Street, Suite 400
8            Oakland, California 94607
9            (510) 302-1000
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11
12    For Defendant:
13           KING & SPALDING
14           BY:     AMY ZUMSTEG
15           Attorney at Law
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17           Los Angeles, California 90071
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                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 25 of 179

1     APPEARANCES (continued):
2
3     For Defendant Revlon Consumer Products Corporation and
      Bristol-Myers Squibb Company:
4
           HAWKINS PARNELL & YOUNG
5
           BY:    MIRNA SCHEFFY
6
           Attorney at Law
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           mscheffy@hpylaw.com
11
12    For Defendant Colgate-Palmolive Company:
13        FOLEY & MANSFIELD
14        BY: GARY D. SHARP
15        Attorney at Law
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19        gsharp@foleymansfield.com
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                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 26 of 179

 1    APPEARANCES (continued):
 2
 3    For Defendant Cyprus Mines Corporation:
 4        DENTONS
 5        BY: KAREN LUONG
 6        Attorney at Law
 7        4675 MacArthur Court
 8        Newport Beach, California 92660
 9        (949) 732-3700
10        karen.luong@dentons.com
11
      For Defendant Whittaker, Clark & Daniels, Inc.:
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            BERKES CRANE ROBINSON & SEAL
13
            BY:     TAYLOR M. MATSUMOTO
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            Attorney at Law
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                                                                    Page 5

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 27 of 179

1     APPEARANCES (continued):
2
3     For Defendant Longs Drugs Stores California, LLC;
      Safeway, Inc.; The Vons Company, Inc.:
4
            BARNES & THORNBURG
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            mcharchalis@btlaw.com
11
12    Videographer:
13        DREW DORSEY, VERITEXT
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                                                                    Page 6

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 28 of 179

1     please swear in the witness.

2

3                           SUSAN S. BARKLEY,

4     having been first duly sworn, was examined and

5     testified as follows:                                         10:25:45

6              VIDEOGRAPHER:     Thank you.   You may proceed.

7                             EXAMINATION

8     BY MR. SWANSON:

9         Q    Good morning, Ms. Barkley.

10        A    Good morning.                                        10:26:08

11        Q    My name is Mark Swanson, as you know, and I'm

12    representing you here today.     I'll be asking you

13    questions over the next two to three hours or so.       Are

14    you prepared to proceed?

15        A    Yes.                                                 10:26:19

16        Q    And can you state your full name for the

17    record, please.

18        A    Susan -- excuse me.     Susan Swanson Barkley.

19        Q    Okay.    And what is your date of birth?

20        A    7-25-54.                                             10:26:31

21        Q    So you are how many years old now?

22        A    66.

23        Q    Today I am going to be asking you questions

24    about a few major areas of your life, your family --

25    you and your family, your background.      I'm going to ask   10:26:47

                                                                     Page 11

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 29 of 179

1         Q     So around the year 2000?

2         A     Yes.

3         Q     In broad strokes, can you list the various

4     uses of talcum powder that you had throughout your

5     life?                                                         10:55:32

6         A     Yes.

7               DEFENSE COUNSEL:    Objection; overbroad.

8               THE WITNESS:    I said before using it to keep

9     sand off my body when I was younger, used it after

10    showering and bathing, used it as dry shampoo, used it        10:55:39

11    inside my shoes, used it on my son when he was an

12    infant, and I also used it on my husband when he was

13    ill and I was taking care of him.

14    BY MR. SWANSON:

15        Q     Now, you mentioned that you remember talcum         10:56:03

16    powder being around the house when you grew up; is that

17    right?

18        A     Correct.

19        Q     And where did you see talcum powder around the

20    house when you were growing up?                               10:56:14

21        A     There was a container in my bathroom and in my

22    parents' bathroom.

23        Q     And do you recall what brand you recall

24    seeing?

25        A     Yes.    It was Johnson's Baby Powder.               10:56:25

                                                                     Page 34

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 30 of 179

1         Q     And how did you know it was Johnson's Baby

2     Powder?

3         A     Because of the container.

4         Q     What was it about the container?

5         A     The shape and it said "Johnson's Baby Powder"       10:56:37

6     on it.

7         Q     Okay.   And so you recall it in your parents'

8     bathroom and in your bathroom?

9         A     Yes.

10        Q     Did the bathroom that you have, was that a          10:56:46

11    bathroom you shared with your sister?

12        A     That is correct.

13        Q     Do you know -- let me ask you first about your

14    use of talcum powder to prevent sand from sticking to

15    you when you went to the beach.    You mentioned that you     10:57:11

16    were 7 or 8 years old when that first happened.         Is

17    that right?

18        A     That's when I applied it to myself.     My mother

19    used it before that on me.

20        Q     Okay.   And where did you go to the beach when      10:57:23

21    you were young?

22        A     We went to Ocean City, New Jersey.     We -- my

23    parents rented for several years a house right on the

24    beach for a month.    And even if we weren't at the house

25    that we rented, we would go several times a summer to         10:57:41

                                                                     Page 35

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 31 of 179

1     and shaking it on the body, rubbing it in until your

2     body was covered with a nice thin layer.

3           Q   And how long would that take to apply it and

4     rub it in?

5           A   About two to three minutes.                         10:59:31

6           Q   And when you shook the powder out of the

7     container, could you see it?

8           A   Yes.

9               DEFENSE COUNSEL:   Objection; leading.

10    BY MR. SWANSON:                                               10:59:43

11          Q   What did it look like?    What did it look like?

12          A   A fine, dusty, white powder.

13          Q   And where did the powder go when you applied

14    it?

15          A   On my body, in the air and on surfaces around       10:59:54

16    me.

17          Q   Could you smell the Johnson's Baby Powder when

18    you applied it?

19          A   Yes.

20          Q   What did it smell like?                             11:00:06

21          A   Johnson's Baby Powder.

22          Q   And did you breathe it?

23          A   Yes.

24          Q   And you -- when your family would rent a house

25    at the New Jersey shore, during what time frame are we        11:00:35

                                                                     Page 37

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 32 of 179

1     talking about?

2         A     During the summer months, June through

3     September.   We typically rented in -- sometime in July

4     and August, maybe a month in -- the month of July, the

5     month of August, or two weeks in July, two weeks in           11:00:53

6     August.

7         Q     And how often would you go to the beach when

8     you were there for that month?

9         A     Every day.

10        Q     And how often when you went to the beach would      11:01:02

11    you apply Johnson's Baby Powder?

12        A     Every day.

13        Q     And do you remember this -- you mentioned that

14    your mother applied it to you before you started at 7

15    or 8 years old.   Until what age did your family rent a       11:01:20

16    house on the shore in New Jersey?

17        A     Just approximately ten years old.

18        Q     And you also mentioned that you would go to

19    your grandparents' house near the -- at the -- or near

20    the shore and would go to the beach when you went             11:01:41

21    there; is that correct?

22        A     That is correct.

23        Q     During what period of your childhood growing

24    up would you visit your grandparents at the New Jersey

25    shore?                                                        11:01:56

                                                                     Page 38

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 33 of 179

1              THE WITNESS:     Every time.

2     BY MR. SWANSON:

3         Q    Okay.     And until what age did you apply

4     Johnson's Baby Powder for the purpose of preventing a

5     beach sand from sticking?                                     11:03:28

6         A    Approximately 10, 11.

7         Q    Okay.     You mentioned when I asked you to list

8     your uses of talcum powder, that you used talcum powder

9     after showering; is that right?

10        A    Correct.                                             11:03:53

11        Q    Now, growing up and as an adult, did you

12    sometimes shower and sometimes bathe?

13        A    Yes.     Primarily showering, but I did take a

14    bath every once in a while.

15        Q    Okay.     And how old were you when you started      11:04:09

16    using talcum powder after showering or bathing?

17        A    Approximately 10 years old.

18        Q    And at ten years old, what was the occasion

19    that you would use talcum powder after showering?

20        A    I would generally use that during the summer         11:04:30

21    months when it is hotter and more humid and sticky back

22    on the East Coast, and I would use it to stay cooler.

23        Q    And how often during the summer months would

24    you use it?

25        A    Every time I showered or bathed.                     11:04:48

                                                                     Page 40

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 34 of 179

1         Q     And how often did you shower and bathe?

2         A     Typically every day.

3         Q     In the summer months, that would be what

4     months?

5         A     June through September.     It stays pretty hot     11:05:03

6     in September.

7         Q     And when you started this practice of using

8     talcum powder after shower or baths in the summer when

9     you lived on the East Coast at 10 years old, what brand

10    or brands did you use?                                        11:05:25

11        A     Johnson's Baby Powder.

12        Q     And how did you apply it?

13        A     Starting from the neck down, shaking it out on

14    my body, rubbing it in with my hands until I had

15    covered all the parts that were necessary.                    11:05:38

16        Q     And how long did that process take?

17        A     About two to three minutes.

18        Q     And again, could you see the powder when you

19    shook it out?

20        A     Yes.                                                11:05:51

21              DEFENSE COUNSEL:   Objection; leading.

22    BY MR. SWANSON:

23        Q     Where did it go?

24        A     On my body, in the air and on the surrounding

25    areas.                                                        11:06:00

                                                                     Page 41

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 35 of 179

1         Q       And could you smell it, the Johnson's Baby

2     Powder --

3         A       Yes.

4         Q       -- when you applied?

5                 And did you breathe it?                           11:06:08

6         A       Yes.

7         Q       Was there a time when you began using talcum

8     powder for more than just staying cool in the summer?

9         A       Yes.

10        Q       What age did that happen?                         11:06:21

11        A       At approximately 12.

12        Q       Do you recall what grade you were in?

13        A       6th or 7th grade.

14        Q       And how did your use change at 12 years old?

15        A       I used a different brand starting at that         11:06:38

16    time.

17        Q       And were you using it more frequently?

18                DEFENSE COUNSEL:     Objection; leading.

19                THE WITNESS:   Yeah.    I was using it

20    year-round.                                                   11:06:52

21    BY MR. SWANSON:

22        Q       Oh, year-round.     I'm sorry.   I think I

23    confused you.      So all right.    So you're using it

24    start -- at 12 years old you started using talcum

25    powder after bathing or showering year-round; is that         11:07:04

                                                                     Page 42

                              Aiken Welch, A Veritext Company
                                       510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 36 of 179

1         A    Okay.    Approximately two to three minutes.

2         Q    And why did you use the Jean Nate talcum

3     powder when you started routinely using talcum powder

4     after every shower or bath instead of Johnson's Baby

5     Powder, which you had previously been using after             11:13:51

6     showering in the summer as a 10- and 11-year-old?

7         A    Well, at 12 years old preteen, you want to --

8     young girls want to be using things that maybe older

9     girls would use, certainly not something maybe that

10    says "baby" on it.    But definitely want to using some       11:14:15

11    that's a little bit different than what you've been

12    using before.    You're now, you know, becoming a

13    teenager, a young woman.    You want to be -- do things

14    that seem older than maybe what you are.

15        Q    And until when did you use Jean Nate talcum          11:14:33

16    powder after showering or bathing?

17        A    Until the mid '80s.

18        Q    Was Jean Nate the only talcum powder that you

19    used after showering or bathing from approximately 12

20    years old until the mid '80s?                                 11:14:53

21        A    No, it was not.

22        Q    And what other brands during that entire

23    period of time did you use?

24        A    Johnson's Baby Powder.

25        Q    Was there any period during -- was there any         11:15:03

                                                                     Page 48

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 37 of 179

1     time during that period from 12 years old to the mid

2     '80s that Jean Nate was the only talcum powder that you

3     used after showers or baths?

4               DEFENSE COUNSEL:      Objection; leading.

5     Overbroad.                                                    11:15:23

6               THE WITNESS:   Yes.     Approximately from 12 to

7     when I went to Wheaton College.

8     BY MR. SWANSON:

9         Q     Okay.

10        A     There were two instances that I can recall          11:15:36

11    between that time that I also used Johnson's Baby

12    Powder.

13        Q     Okay.   So let's see if we can break that down.

14    All right.    So from around 12 years old to when you

15    went to Wheaton College, which was fall of 1974; is           11:15:53

16    that right?

17        A     Correct.

18        Q     Okay.   So from 12 years old to the fall of

19    1974, you are using exclusively Jean Nate after showers

20    or baths except for these two other occasions; is that        11:16:09

21    right?

22        A     Correct.

23        Q     And what were these two other occasions?

24        A     They were when I was traveling in 1970 and

25    1972.                                                         11:16:24

                                                                     Page 49

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 38 of 179

1         Q    Okay.

2         A    During the summer months.

3         Q    And how long were you traveling on those

4     occasions?

5         A    In '70 I was gone approximately seven weeks            11:16:29

6     and '72, approximately six weeks.

7         Q    And you mentioned that during these vacations,

8     during those times you were using Johnson's Baby Powder

9     after showering; is that right?

10        A    Correct.                                               11:16:46

11        Q    All right.   And when you went to Wheaton

12    College in 1974 what -- what -- I take it from your

13    answer that you, then, at least for a time, switched

14    to or were using another brand; is that right?

15        A    Correct.                                               11:17:06

16        Q    And what brand did you use?

17        A    Johnson's Baby Powder.

18        Q    Okay.   And why did you use Johnson's Baby

19    Powder at Wheaton College instead of Jean Nate?

20        A    In the dormitory where I lived, it was -- we           11:17:15

21    had a very large communal bathroom and shower area, and

22    it was just not practical to be carrying a box that

23    could come open with a big powder puff in it.      The

24    packaging of the Johnson's Baby Powder in the closeable

25    container was a much more practical item to use.         It's   11:17:40

                                                                      Page 50

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 39 of 179

1     also why I used it traveling.

2         Q    How long did you live in the dormitories at

3     Wheaton College?

4         A    From the fall of -- the school year 1974-1975,

5     that would be from the fall to the spring, and then           11:17:57

6     from the fall of 1975 until I graduated in 1976.

7         Q    And what brand of talcum powder did you use --

8     oh, sorry.   You were using Johnson's -- did you say

9     Johnson's Baby Powder?

10        A    Yes, I did.                                          11:18:14

11        Q    Okay.     And in terms of your routine of how you

12    used it and how long it took I asked you about before,

13    was that the same at Wheaton College as you had

14    described before or different?

15        A    It was different.                                    11:18:25

16             DEFENSE COUNSEL:     Objection; vague.

17    Overbroad.

18    BY MR. SWANSON:

19        Q    Were there any other times when you lived in a

20    dormitory or other space where you were not -- where          11:18:33

21    you couldn't use the Jean Nate talcum powder box

22    because it would have been inconvenient and had to use

23    Johnson's Baby Powder instead?

24        A    In 19 -- in the summer of 1975 I again was

25    traveling in Europe for approximately five weeks this         11:18:49

                                                                     Page 51

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 40 of 179

1     time.      And then in the summer of 1976 after I graduated

2     from college, I spent approximately five weeks, six

3     weeks at a -- at the Delta Epsilon fraternity house at

4     MIT.

5            Q     And during those periods you were using           11:19:12

6     Johnson's Baby Powder instead; is that right?

7            A     Correct.

8            Q     Now, other than those sort of exceptions where

9     you're either traveling or living in a dormitory when

10    you're using Johnson's Baby Powder because it's more           11:19:32

11    convenient, from the time you were 12 years old until

12    the mid '80s, were there other times where you used a

13    powder other than Jean Nate after showering or bathing?

14           A     Can you repeat the question?    I'm sorry.

15           Q     Sure.   From -- you had said that you used Jean   11:19:55

16    Nate from about 12 years old to the mid '80s, correct?

17           A     Correct.

18           Q     And you said that it was exclusive until 1974

19    except for a couple of vacations, correct?

20           A     Correct.                                          11:20:20

21           Q     And then after that in '75 and '76 you had

22    another vacation -- you had a vacation in the summer

23    and MIT dormitory for about six weeks, correct?

24           A     Correct.

25           Q     And so from that period from 1976 now until       11:20:35

                                                                     Page 52

                               Aiken Welch, A Veritext Company
                                        510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58         Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 41 of 179

1     1985, were you exclusively using Jean Nate or other

2     powders too?

3         A    No, I was not exclusively using Jean Nate.           I

4     was also using Johnson's Baby Powder.

5         Q    Okay.     And which one did you use more often?          11:20:55

6         A    At the beginning of the time, it was more

7     often Jean Nate.     As we got into the late '70s, early

8     '80s, it was more Johnson's Baby Powder.

9         Q    And what -- when would you use Johnson's Baby

10    Powder after showering or bathing versus Jean Nate?               11:21:18

11        A    It would really be dependent on what I was

12    doing or what I was planning to do.        Jean Nate has a

13    very distinctive scent, which is one of the reasons I

14    liked it because it's a lemony scent.        And if I wanted

15    to wear another kind of perfume, I would use the                  11:21:35

16    Johnson's Baby Powder so that the Jean Nate would not

17    interfere with the perfume scent.

18        Q    Okay.     So by around 1980 or so you -- or the

19    late '70s, 1980, around that time, your -- you had

20    gotten to a point where you were using perfume more               11:21:57

21    often, and so you were using Johnson's Baby Powder as

22    your powder; is that correct?

23        A    Correct.

24             MR. SWANSON:     Okay.     All right.   Why don't we

25    go ahead and take a break.        We've been going about an       11:22:10

                                                                        Page 53

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 42 of 179

1     hour.

2                 THE WITNESS:     Okay.

3                 MR. SWANSON:     Let's go ahead and do that.     Can

4     we go off the record.

5                 THE VIDEOGRAPHER:        This marks the end of media   11:22:20

6     number 1.     The time is 11:22 a.m.        We are off the

7     record.

8                 (Recess.)

9                 THE VIDEOGRAPHER:        This marks the beginning of

10    media number 2.        The time is 11:41 a.m.     We are on the    11:41:31

11    record.

12    BY MR. SWANSON:

13        Q       You mentioned earlier that you were a regular

14    user of talcum powder until your mid 40s; is that

15    right?                                                             11:41:51

16        A       Correct.

17        Q       And at the point at which you were using

18    predominantly Johnson's Baby Powder after showering and

19    bathing around 1980 until the mid 40s, what powders did

20    you use after showering?        Sorry, let me strike that          11:42:11

21    question.     Let me start over.

22                Until what year did you regularly use

23    Johnson's Baby Powder after showering or bathing?

24        A       In approximately -- until approximately 2000.

25        Q       Okay.   And after the year 2000, did you ever          11:42:32

                                                                         Page 54

                                Aiken Welch, A Veritext Company
                                         510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 43 of 179

1     use talcum powder after showering or bathing?

2           A    Yes.

3           Q    For -- under what circumstances or what

4     purpose?

5           A    Typically when I would travel.    I did a lot of   11:42:51

6     like cruising or traveling to tropical places and would

7     use the baby powder on those trips to help keep me cool

8     and dry.

9           Q    When's the last time you recall using

10    Johnson's Baby Powder on a vacation?                          11:43:09

11          A    Approximately 2017.

12          Q    And where did you go?

13          A    It was a Caribbean cruise.

14          Q    And you had earlier described using Johnson's

15    Baby Powder in the routine and how long it took and all       11:43:27

16    of that.     Was it always the same throughout your life?

17          A    Yes.

18               DEFENSE COUNSEL:   Objection; vague.

19    Overbroad.

20               THE WITNESS:   It was.                             11:43:36

21    BY MR. SWANSON:

22          Q    Okay.   Let me ask then.   From 1980 until 2000

23    when you were using Johnson's Baby Powder after

24    showering or bathing, where on your body did you apply

25    it?                                                           11:43:49

                                                                     Page 55

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 44 of 179

1     like.

2               MR. SWANSON:     No, no, no, no, really.     We're

3     doing -- we're doing fine.      Thank you.

4               MR. SHARP:     No worries.

5     BY MR. SWANSON:                                                  11:49:27

6         Q     What brand of talcum powder did you use for --

7     as a dry shampoo?

8         A     Johnson's Baby Powder.

9         Q     And when did you start using Johnson's Baby

10    Powder as a dry shampoo?                                         11:49:44

11        A     Probably around the time I started high

12    school.   So it was about 15, 16.

13        Q     And until when did you use Johnson's Baby

14    Powder as a dry shampoo?

15        A     Until approximately 2000.                              11:49:56

16        Q     How often did you use Johnson's Baby Powder as

17    a dry shampoo?

18        A     Several times -- several times a month.

19        Q     Okay.   Did that vary from the time you, you

20    know, entered high school until the year 2000?         In        11:50:17

21    other words, were there some periods of your -- that

22    time where you were using it less than others?

23        A     Yes, I'm sure there were.     I can't recall

24    exactly what dates that they would be.       But probably a

25    little bit less when I was maybe in college.         I went to   11:50:38

                                                                       Page 60

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 45 of 179

1         A    Correct.

2         Q    When did you use talcum powder in your shoes?

3         A    Primarily during summer months when it was --

4     when your feet get hot and sweaty and to put the powder

5     in the shoes to dry them out a little bit and keep them       11:53:14

6     smelling better.

7         Q    And when you would put it in your shoes, when

8     you were wearing the shoes when it was warmer, would

9     that be when you were not wearing socks?

10        A    Correct.                                             11:53:29

11        Q    Okay.     And when did you start using -- at what

12    age did you start using talcum powder in your shoes?

13        A    Approximately 10 years old.

14        Q    What brand did you use?

15        A    Johnson's Baby Powder.                               11:53:43

16        Q    And how often did you use it?

17        A    Several times a week.

18        Q    And as a -- as an -- until -- with the

19    frequency -- until what age did you use talcum powder

20    in your shoes?                                                11:54:05

21        A    Consistently until the mid -- my mid 40s, and

22    then I did use it when -- up until 2017 when I traveled

23    to warmer climates.

24        Q    Okay.     And how often did you use it?

25        A    When I was young.                                    11:54:30

                                                                     Page 63

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 46 of 179

1            A    About one to two minutes, approximately.

2            Q    Could you see the powder when you shook it

3     out?

4            A    Yes.

5            Q    Could you smell it?                               11:57:24

6            A    Yes.

7            Q    Did you breathe it?

8            A    Yes.

9                 DEFENSE COUNSEL:   Objection; calls for

10    speculation.                                                  11:57:30

11    BY MR. SWANSON:

12           Q    You mentioned that you used talcum powder on

13    Trevor when he was a baby; is that right?

14           A    That is correct.

15           Q    What brand did you use on Trevor?                 11:57:39

16           A    Johnson's Baby Powder.

17           Q    And was this powder in connection with diaper

18    changing?

19           A    Yes, it was.

20           Q    Describe how you used Johnson's Baby Powder on    11:57:48

21    Trevor when you changed his diaper.

22           A    Okay.   It would be changing his diaper or

23    putting on a new diaper after bathing.       Take the

24    powder, shake it out into like mid -- mid torso to his

25    groin area, pulling up his legs, making sure that his         11:58:10

                                                                     Page 66

                              Aiken Welch, A Veritext Company
                                       510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 47 of 179

1     little bottom got covered and then putting the diaper

2     on.

3           Q   So would you sprinkle it on his front and then

4     pick up his legs and sprinkle it on the back and rub it

5     on both sides or?                                             11:58:25

6           A   Yes.

7           Q   Okay.   So first you'd do the front?

8           A   First I would do the front and then pick up

9     his legs and make sure do the back, and then rub it in

10    on the bottom.                                                11:58:34

11          Q   On the back, did you also -- did you

12    separately sprinkle?

13          A   Yes.

14          Q   Okay.   And where in the house was that done?

15          A   That was done in his room on his changing           11:58:43

16    table.

17          Q   And how long would the process take from the

18    time you started sprinkling until you were done rubbing

19    in?

20          A   Oh, it -- approximately one to two minutes.         11:58:59

21          Q   And for how many months of Trevor's young life

22    did you powder him with Johnson's Baby Powder?

23          A   Approximately nine months.     Six to nine

24    months.   Nine months.

25          Q   How many times per day would you put a fresh        11:59:23

                                                                     Page 67

                             Aiken Welch, A Veritext Company
                                      510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 48 of 179

1     diaper on Trevor during that approximate nine-month

2     period?

3         A     Approximately five, maybe six times a day.

4         Q     When you shook the powder and rubbed it in,

5     could you see it?                                             11:59:49

6         A     Yes.

7         Q     What did the powder look like?

8         A     It was a fine, white, dusty powder.

9         Q     Could you smell it?

10        A     Yes.                                                11:59:55

11        Q     Did you breathe it?

12        A     Yes.

13              DEFENSE COUNSEL:   Objection; calls for

14    speculation.

15    BY MR. SWANSON:                                               12:00:00

16        Q     Your husband Jim was diagnosed with multiple

17    myeloma in 2002; is that right?

18        A     That's correct.

19        Q     Okay.   You had mentioned that you used powder

20    on him.   Is that right?                                      12:00:17

21        A     That is correct.

22        Q     Okay.   During -- and he died in July of 2007?

23        A     Correct.

24        Q     During that -- which years or periods during

25    that time, just generally now overall, did you at least       12:00:32

                                                                     Page 68

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58         Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 49 of 179

1     sometimes apply powder to him?

2            A      When he was home -- he was in the hospital

3     during those five years quite a lot of time.          But when

4     he was home and especially the last two years of his --

5     his life when he was home, I would, to help make him              12:00:51

6     more comfortable, I would be applying powder to him.

7            Q      Okay.   So let's start with the last two years,

8     then, and then we'll sort of work back from there.          So

9     during that last two years, first of all, how much time

10    was he at home versus in the hospital?                            12:01:11

11           A      About 50 percent in both places.

12           Q      Okay.   And when he was home, how often did you

13    powder him?

14           A      Approximately every day.

15           Q      What brand did you use?                             12:01:30

16           A      Johnson's Baby Powder.

17           Q      Where was he when you powdered him?

18           A      It was very difficult for him to be in our

19    bed.       It was just a regular flat bed not adjustable.

20    So he spent most of his time in our TV room in a                  12:01:46

21    recliner.

22           Q      And -- I'm sorry.   What position was he when

23    you powdered him?

24           A      He would be standing.     Also, sometimes I would

25    powder him -- if he did take a shower, I would powder             12:02:01

                                                                        Page 69

                                Aiken Welch, A Veritext Company
                                         510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 50 of 179

1     him after the shower in our bathroom area.

2         Q    Okay.   And what position was he in when you

3     powdered him?

4         A    He was standing holding on to his walker.

5         Q    And where would you powder him?                      12:02:19

6         A    From the neck down.

7         Q    And can you describe the routine that you used

8     to powder him.

9         A    Okay.   Unless he was just getting out of the

10    shower, if he was in the TV room getting out of the           12:02:30

11    recliner to get powdered, I'd take off his T-shirt if

12    he had on or whatever he had on covering his top, apply

13    the powder, shaking it on, rubbing it in with my hands,

14    putting the shirt back on, and then going down to

15    removing his pants, whatever he had on the bottom half,       12:02:53

16    and then doing the bottom half of his body.

17        Q    How long did that process take?

18        A    About four to five minutes.     It would be a

19    little bit less if he was getting out of the shower,

20    because I wasn't removing and putting back clothing at        12:03:14

21    that point.

22        Q    Okay.   So you said four to five minutes?

23        A    Approximately four to five minutes.

24        Q    Okay.   And I think I asked you the brand,

25    but -- did I ask you the brand?                               12:03:28

                                                                     Page 70

                            Aiken Welch, A Veritext Company
                                     510-451-1580
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 51 of 179

1     was done in the last two years of his life.

2         Q    When you powdered Jim, could you see the

3     powder when you shook it up?

4         A    Yes.

5         Q    What did it look like?                                12:05:14

6         A    The fine, white, dusty powder.

7         Q    And could you smell the powder?

8         A    Yes.

9         Q    And did you breathe it?

10        A    Yes.                                                  12:05:22

11             DEFENSE COUNSEL:    Objection; calls for

12    speculation.

13    BY MR. SWANSON:

14        Q    I want to ask you a bit about what you

15    remember about where you purchased talcum powders.       Are   12:05:39

16    you prepared to do that?

17        A    Yes.

18        Q    When you were living on the East Coast, at

19    what age did you start buying your own talcum powder?

20        A    Approximately 16 when I was able to drive.            12:05:51

21        Q    And living on the East Coast, do you recall

22    what types of stores you bought talcum powder at?

23        A    Drugstores.

24        Q    And do you recall the names of the drugstores?

25        A    I do not recall.                                      12:06:12

                                                                     Page 72

                             Aiken Welch, A Veritext Company
                                      510-451-1580
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 52 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 53 of 179




                 Exhibit 3
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 54 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 55 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 56 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 57 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 58 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 59 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 60 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 61 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 62 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 63 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 64 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 65 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 66 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 67 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 68 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 69 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 70 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 71 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 72 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 73 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 74 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 75 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 76 of 179




                 Exhibit 4
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                         Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 77 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                       Rene C. Davidson Courthouse, Department 18
                 JUDICIAL OFFICER: HONORABLE JO-LYNNE LEE

Courtroom Clerk: Timothy Lopez                                                        CSR: None


RG20066950                                                                       October 7, 2022
                                                                                      10:00 AM
Barkley VS Johnson & Johnson



                                            MINUTES
APPEARANCES:

No Appearances

NATURE OF PROCEEDINGS: Case Management Conference

Counsel on Zoom:

Ian Rivamonte, Hillary Huth, Jazmyne Arnett.

REPORTED BY CSR SHEILA PHAM.

ORDER RE: CASE MANAGEMENT AND TRIAL SETTING ORDER WITH NOTICE

The Court has ordered the following at the conclusion of a judicially supervised Case
Management Conference.

TRIAL SETTING ORDERS

Jury Trial is scheduled for 07/10/2023 at 08:30 AM in Department 18.

The parties are ordered to comply with the Standing Pre-Trial Orders for Civil Cases, Local Rule
of Court 3.35.




The Pretrial Conference will be held on the first day of trial. See Pretrial Conference Order
below.

MANDATORY SETTLEMENT CONFERENCE (CRC section 3.1380)

The Court orders the parties to a Mandatory Settlement Conference (MSC) on 07/05/2023 at
09:00 AM in Department 302.
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                          Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 78 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

Lead negotiating counsel, trial counsel, party representatives, insurance carrier representatives
with full settlement authority from each insurance policy implicated by plaintiff's demand, and
all other persons necessary to consent to settlement must PERSONALLY ATTEND the MSC,
unless excused by the court for good cause.

Parties must comply with all applicable rules and code provisions regarding MSCs, including
California Rule of Court (CRC) 3.1380. No later than five court days before the MSC, each party
must serve on opposing parties, and DELIVER DIRECTLY TO THE SETTLEMENT
DEPARTMENT a hard copy Settlement Conference Statement (SCS) that includes a detailed
discussion of liability and damages. The SCS must also contain a good faith settlement demand
or offer as of the date the settlement conference statement is signed.

DO NOT E-MAIL OR FILE, INCLUDING BY FAX, THE SCS WITH THE COURT.

Any person seeking to appear at the MSC by telephone must file with the clerk's office a formal
ex parte application with a proposed order and proof of service showing service on all parties. A
courtesy copy of the application and proposed order must be delivered directly to the settlement
department. The application will not be granted unless the party shows good cause and delivers
to the settlement department its SCS that fully complies with CRC 3.1380(c) and includes a good
faith settlement demand or offer as of the date the settlement conference statement is signed. If
the application is granted, the person appearing by telephone must be immediately available by
telephone throughout the conference until released by the court.

FAILURE TO BE IMMEDIATELY AVAILABLE, INCLUDING AFTER BUSINESS HOURS,
CONSTITUTES A NON-APPEARANCE BY THAT PERSON.

If the case settles before the MSC, Plaintiff must promptly notify this department and the
settlement department.

FAILURE TO COMPLY WITH THIS ORDER MAY RESULT IN SANCTIONS.
The Mandatory Settlement Conference in Dept. 301/302/303 will be conducted remotely via .

Prior to the scheduled MSC date, the court will send out a BlueJeans Video Conference
Invitation Link that will include a Meeting ID and other pertinent information that will enable
parties/counsels to participate in the specific conference/hearing. Once received please
familiarize yourselves with the software and please conduct a test to make sure your specific
electronic equipment that you will be using that day (Smartphone, Laptop, Desktop etc.) is fully
updated and both video / audio capabilities are functional.

Settlement Conference Statements

To comply with Rule3.1380(c), each party must email the court at least five court days prior to
the conference a settlement conference statement no more than five pages in length. Do not file
the settlement conference statement. Send the statement to the court clerk's email address. Your
statement must include:


                                          Minute Order                                  Page 2 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                           Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 79 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

Hearing date for any dispositive motion;
Summary of remaining discovery;
Summary of all liability facts and issues;
List of all economic damages claimed;
Current good faith settlement offer or demand of each party;
Name, date, and description of each alternative dispute resolution neutral's attempt to resolve this
case.

Because of technical and printing limitations, do not include any attachments or exhibits. Make
sure you send a copy of your settlement conference statement to all opposing parties. The
statements will not be filed and will be destroyed at the completion of the settlement conference
and will be destroyed at the completion of the settlement conference.

Please proceed in sending the required Mandatory Settlement Conference Statement via email to:
Dept.301@alameda.courts.ca.gov and rmcguiness@alameda.courts.ca.gov at least five days prior
to your conference or submit directly to Dept. 301's Drop Box located outside of the courtroom.

Please proceed in sending the required Mandatory Settlement Conference Statement via email to:
Dept.302@alameda.courts.ca.gov and pherbert@alameda.courts.ca.gov at least five days prior to
your conference or submit directly to Dept. 302's Drop Box located outside of the courtroom.

Please proceed in sending the required Mandatory Settlement Conference Statement via email to:
Dept.303@alameda.courts.ca.gov and trasch@alameda.courts.ca.gov at least five days prior to
your conference or submit directly to Dept. 303's Drop Box located outside of the courtroom.

Please provide all email addresses of all parties/counsels/claims representative etc. that will be
active participants at the upcoming settlement conference.


FURTHER CONFERENCE
A Case Management Conference is scheduled for 01/13/2023 at 09:00 AM in Department 18.



This matter is continued for status.

Updated Case Management Statements must be filed by Plaintiff and Designated Defense
Counsel (DDC) no later than 15 days prior to the CMC and courtesy copy emailed to Dept. 18. If
the foregoing date is a court holiday or a weekend, the time is extended to the next business day.
Individual defendants may also opt to file their own CMC Statements. All CMC Statement shall
be submitted on pleading paper with a brief summary of the status of the case and any specified
issues that need to be addressed by the court. Do not use Judicial Council Form CM-110.

TENTATIVE CASE MANAGEMENT ORDERS
Counsel and self represented parties are advised that the court will generally issue a tentative
case management order in advance of a scheduled case management conference. This tentative

                                           Minute Order                                  Page 3 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                           Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 80 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

order may be viewed in the court's REGISTER OF ACTION for your case (it is NOT posted in
TENTATIVE RULINGS which are for law and motion matters). If any party is contesting this
tentative case management order, they must email the department clerk and cc opposing counsel
no later than 4:00 PM two (2) court days prior to the hearing.
If no one is contesting the tentative no appearances will be needed and the tentative will become
the order of the Court.


PRETRIAL CONFERENCE ORDER

All parties shall comply with Local Rule of Court 3.35, with the following modifications and
clarification and subject to any further order of the trial judge:

A. JOINT SUBMISSIONS

The parties are ordered to meet and confer in sufficient time prior to the Pretrial Conference, and
as many times as necessary, to meaningful assemble the following items to be submitted jointly
by all parties to the Court for the Pretrial Conference. Courtesy hard copies of these documents
shall be provided to Dept. 18 at the Pretrial Conference.

1. Jury Instructions - with ALL BLANKS FILLED IN - which will be given to the jurors at the
conclusion of the trial. This does not mean a set of instructions from each party or side. The court
expects the parties to resolve any differences amongst themselves and present a unified set of
instruction. It is easier to delete instructions that do not apply after the presentation of evidence
than to craft instructions on the eve of argument. Any proposed jury instruction, including any
proposed Special Jury Instruction, not agreed upon shall be separately submitted by each party.

2. Verdict Form - A single verdict form which will be used by the jury. Again this does not mean
different verdict forms from each party or side. The observation noted above as to the jury
instructions applies equally to the verdict form. With both Jury Instructions and Verdict Forms
all causes of action and defenses must be included even if counsel expects some may be
eliminated on motion or otherwise stricken or modified.

3. Exhibit List - An exhibit list with no duplicate documents. Counsel shall meet and confer to
determine an assignment of blocks of exhibit numbers per party. Pre-marked exhibits shall be
lodged with the Court on the first day of trial along with an Index identifying each of the
numbered exhibits (e.g. 10 page letter from X to Y dated ___). The description on the index will
be used by the court to identify in the record the documents that are marked for identification or
admitted into evidence during the trial.

4. Witness List - A common witness list limited to those witnesses which the parties actually
expect to call to testify (this list will be used in the Juror Questionnaire).

5. Jury Questionnaire - A common juror questionnaire, with questions in disagreement to be
highlighted. A form "Instructions to Jurors" should be attached as the first page to any submitted
questionnaire.

                                           Minute Order                                  Page 4 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                          Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 81 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA


6. Time Estimate - A reasonable cumulative time estimate from each side for the number of
hours needed to present their case. This reasonable estimate shall include: opening statement,
final argument, direct examination of their party's witnesses and cross examination of opposing
witnesses. In other words how much time does each party need for the presentation of their case?

7. Statement of the Case - A Statement of the Case to be read to the jury. (Counsel shall advise
the court if they are agreeable to making mini-opening statements of no more than 3 minutes
each).

8. Evid, Code 401/402 Hearings - A list of those witnesses where a party requests an Evidence
Code section 401 or section 402 hearing. Note that after the jury selection process begins, a
request for such a hearing will only be entertained if the requesting party could not have
reasonably anticipated the need for such a hearing at the time of the Issues/Pretrial Conference.

Any party who does not diligently participate in these discussions runs the risk that he/she or it
has waived objection and/or does not contest the above items presented to the court at the pretrial
conference.

B. IN LIMINE MOTIONS
1. Unless otherwise ordered (see paragraph 5, below) each side is limited to a total of 5 motions
in limine; however, each defendant may additionally file up to 2 defendant-specific motions in
limine.

2. Each motion in limine shall be filed separately from any other motion in limine and shall not
be combined, aggregated or consolidated with any other motion. Motions shall not be filed in
"subparts." Counsel shall not file "trial briefs" seeking an evidentiary ruling that should have
been filed as a motion in limine; so-called "trial briefs" will not be considered by the court or
ruled upon.

3. Motions shall be numbered consecutively beginning with the party's name, for example:
Plaintiff MIL #1; Defendant Smith MIL #1, #2, #3, etc.; Defendant Jones MIL #1, #2, #3, etc.
Motions shall set forth in the title which of the following categories it is in:
a. Expert Testimony
b. Evidence
c. Damages
d. Legal Duty
e. OTHER

4. Each motion in limine shall be accompanied by a separate memorandum of points and
authorities as defined in CRC 3.113(b). A notice of hearing is not necessary. All motions seeking
to exclude evidence shall set forth factual support as to the exact nature and type of evidence
which the party is seeking to exclude, including attaching relevant portions of depositions,
interrogatories or other factual support. The court will specifically enforce the standards of Kelly
v. New West Federal Savings (l996) 49 CA4th 659, 670. Motions which make unsupported
assertions about what witnesses allegedly said in deposition or speculate about what witnesses

                                           Minute Order                                 Page 5 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                           Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 82 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

may say at trial without attaching to the motion a declaration setting forth a factual basis are
subject to sanctions.

5. All in limine motions are to be served on opposing counsel at least 14 days prior to the
conference. All oppositions to in limine motions are to be served on opposing counsel at least 7
days prior to the conference. These deadlines are mandatory unless, prior to the pretrial
conference the court has approved a modification of these deadlines for good cause. Counsel
shall meet and confer prior to the pretrial conference to determine which motions will require a
court ruling.

A party may seek leave of court to serve additional motions in limine above the maximum
number set forth above for good cause shown. The request shall be in writing, served on all
parties, and shall include a copy of the proposed motion along with the attorney's declaration of
good cause. The request shall be filed and served at least 14 days prior to the conference and any
opposition shall be filed at least 7 days prior to the conference.

6. Parties are to comply with revised Local Rule 3.35(e)(2) which states:
"Unless otherwise ordered by the trial judge, all motions in limine subject to this rule must be in
writing, numbered consecutively and filed in the clerk's office at least three court days before the
pretrial conference or, if there is no pretrial conference, three court days before trial. Motions in
limine addressing separate evidence or issues shall not be aggregated into one motion.
Reservation numbers are not required for motions in limine subject to this rule."

7. At the time the motions in limine are filed, the parties shall provide the trial judge with ONE
list of all in limine motions filed - plaintiffs' listed first and then defendants' motions in
numerical order - with the subject of each motion described in less than 10 words and an
indication if the motion is stipulated, withdrawn, deferred or contested. This list should be
provided to the trial judge, along with a three ring binder with the trial judge's courtesy copies of
the motion(s) and opposition brief(s) of the each contested motion(s).

8. TENTATIVE RULINGS ON COMMON MOTIONS IN LIMINE:
The following motions in limine are conditionally granted and, unless contested in writing,
should NOT be filed:

PROCEDURE:
1. To amend the Case Caption to Reflect Remaining Defendants only. Defendants will be
referred to, introduced and participate at trial in alphabetical order;
2. To preclude reference to any possible future wrongful death action;
3. To preclude reference to plaintiff's counsels' other clients or website;
4. To preclude attribution of fault to any party granted summary judgment.
5. Motion to Exclude Witness from the Courtroom Until Witness' Testimony is Completed.

EVIDENCE:
1. Motion To Preclude Mention of Bankruptcy or other Financial Status of Absent Defendants;
2. Motion to Preclude Reference to Absence of Corporate Representative is granted. However,
that does not preclude Plaintiff from commenting on any defendant's failure to produce or refute

                                           Minute Order                                   Page 6 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                           Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 83 of 179
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

relevant evidence.
3. Motion to Exclude Evidence or Mention of Insurance, including Plaintiff's Medical Insurance;
4. Motion to Exclude Experts Not Designated Pursuant to CCP 2034;
5. Motion to Preclude Reference to Serpentine as the State Rock;
6. Motion to Preclude Reference to Defendants as "the Asbestos Industry" is granted,
provisionally: The dictionary defines "industry" as a group of businesses that provide a particular
product or service, often named after their common principal product: e.g. the automobile
industry, the textile industry, the cosmetics industry. To the degree plaintiff has evidence that the
principal product of any of the defendants is asbestos, such as the mining company or fabricator
of raw asbestos, the plaintiff may refer to that defendant as a member of the "asbestos industry. "
To the degree plaintiff has not made that showing, he shall not merely assert or argue that a
defendant or all defendants are within the asbestos industry.
7. Motion To Exclude Reference to the l989 Proposed EPA Ban which never went into effect;
8. Motion to Exclude "But For" Causation Opinions by Experts.

DAMAGES:
1. Motion To Exclude Any Reference to or Evidence of Prior Settlements is granted.
2. Motion to Bifurcate Punitive Damage claims;
3. Motion to Exclude Collateral Source Evidence;
4. Motion to Preclude Reference to Surviving Spouse Pension Benefits as
Collateral Source;
5. Motion to Preclude Use of Personal Consumption as a Damages Offset in a personal injury
case;
6. Motion To Limit Evidence of Plaintiff(s)' Claims for Past and Future Medical Expenses to
Those Actually Paid by or on Behalf of Plaintiff is granted.
Evidence of Past Medical Expenses is limited to amounts actually paid by or on behalf of
Plaintiff and which were accepted by medical care providers as payment in full. Evidence of
currently Outstanding Medical Expenses which have not yet been paid is limited to amounts
which were actually incurred and for which plaintiff is personally liable or his insurer is
contractually liable. Future Medical Expense evidence is limited to amounts which it is
reasonably foreseeable Plaintiff will incur and be liable for either personally or through his
insurance coverage. Evidence of the amount billed for medical care but for which Plaintiff is not
liable either personally or through his insurer is excluded. Evidence that medical payments were
made on behalf of Plaintiff by a collateral source such as Medicare is excluded. (see Howell and
Corenbaum)

C. 48 HOUR NOTICE
(1) OPENING STATEMENTS : In opening statements to the jury by counsel, no display to the
jury or reference should be made to any document, chart, graph, map, picture, model, video or
any other graphic device or presentation except 1)when marked as an exhibit and received in
evidence; 2)by stipulation of counsel; or 3)with leave of court. With prior approval of the court,
counsel may use paper for illustrative purposes during opening statements. At least 48 hours in
advance of the Opening Statement, parties shall exchange any power point screens or other
visual or demonstrative aids (e.g.photographs, maps, charts, excerpts of deposition testimony or
documents) they intend to display to the jury in their Opening Statement. Objections to any said
materials shall be brought the attention of the trial judge immediately so that the court has

                                           Minute Order                                  Page 7 of 9
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                               Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 84 of 179
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

reasonable time to rule upon any objections prior to Opening Statements being presented.
(2) TRIAL: Parties shall identify to opposing parties the names of the witnesses they will be
calling to the stand and exhibits they intend to introduce (in their direct case) and any proposed
power point to be used by the witness at least 48 hours in advance (and no later than Friday 5
p.m. for Monday witnesses). Failure to strictly comply with this order shall result in preclusion
of the witness or exhibit until the full 48 hours' notice is complied with.

D. PAGE AND LINE DESIGNATIONS
At least 14 days prior to the Pretrial Conference, counsel shall exchange proposed page and line
designations of testimony of witnesses who will not be appearing live at trial. At least 7 days
prior to the conference counsel shall exchange objections and counter-designations and shall
meet and confer. Deposition designations and counter designations shall not be filed with the
court nor shall advance courtesy copies be sent to the court. The parties shall meet and confer
prior to the Pretrial Conference in order to narrow the number of depositions, designations and
objections. Where objections cannot be resolved and require court ruling, counsel shall prepare
an index for each transcript at issue with columns identifying (1) the page and line designations
and counter-designations. (2) the objections, if any, to said page and line designations; (3) the
response(s) to said objections; and (4) boxes for the court to check whether the objection(s) to
the designated page and lines are "sustained" or "overruled." Counsel shall provide the trial judge
with each transcript at issue with the contested page and line designations highlighted with a
different color for each party. Trial transcripts shall not be filed with the court.

E. Bankruptcy Claims: No later than 14 days prior to the Pretrial Conference, plaintiff shall
provide defendants copies of all claims made to bankruptcy trusts on behalf of plaintiff.

F. REMAINING PARTIES and DISMISSALS:
Plaintiff (s) shall provide the court with an alphabetical list of all defendants remaining in the
case including names of defense counsel, firm names and defense counsel's email address by no
later than five court days prior to the first day of trial. Plaintiff(s) shall also provide the trial court
with an alphabetical list of all defendants who were granted summary judgment in their favor
including a description as to what product or site was the basis for the summary judgment no
later than five court days prior to the first day of trial.

G. STATUS OF PLEADINGS:
At least five court days prior to the first day of trial, counsel for Plaintiff(s) shall provide the trial
court with a courtesy copy of the Complaint or any Amended Complaint on file in this case,
including any description/location/site of plaintiff's alleged asbestos exposure and the theory of
liability, including correlated causes of action, as to each remaining defendant.


In the event a cost bill is submitted to the court after a jury verdict in this action, counsel are
cautioned that the billing or invoice submitted to establish recovery of expert fees and costs
should contain a reasonably detailed record of hours or expenses incurred by any expert witness
in connection with work performed by said witness in this litigation. An invoice that simply
seeks a total sum "for services rendered" or a large number of hours for a vaguely described
category may be insufficient for the Court to determine the appropriate recoverable fees and

                                              Minute Order                                    Page 8 of 9
 Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                          Desc
            Exhibit Exhibits 1-8 to Satterley Declaration Page 85 of 179
       SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA

costs, if the cost bill is contested.

The Court orders counsel to obtain a copy of this order from the eCourt portal.


Designated Defense Counsel shall serve all pending defendants in this action.




                                                          By:
                                                                                Minutes of: 10/07/2022
                                                                                Entered on: 10/07/2022




                                          Minute Order                                   Page 9 of 9
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 86 of 179




                 Exhibit 5
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 87 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 88 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 89 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 90 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 91 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 92 of 179




                 Exhibit 6
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 93 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 94 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 95 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 96 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 97 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 98 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
           Exhibit Exhibits 1-8 to Satterley Declaration Page 99 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 100 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 101 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 102 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 103 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 104 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 105 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 106 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 107 of 179
              Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58              Desc
                        Exhibit Exhibits 1-8 to Satterley Declaration Page 108 of 179

                      MAS CHART OF J&J TESTING (current as of September 16, 2021)

            TABLE I – CONTAINERS FROM OUTSIDE J&J ARCHIVE PRE 2003 (ITALIAN & VERMONT)

    Photo            Container ID   Sender             Source        Vintage      Asbestos TEM            Asbestos PLM
1                    M66514-001 SGPB 4-7-17(1)       JBP – Client    Circa     247,000 s/g             N/A
                                                     Carolyn         1980
                                                     Weirick                   Anthophyllite

                                                     Retailer: Cal             Average Aspect
                                                     Oaks                      Ratio: 14.8




2                    M65205-001    Kazan             JBP –           1950s     15,100,000 s/g          N/A
                                                     Collector
                                                                               Tremolite

                                                                               Average Aspect
                                                                               Ratio: 12.0
                                                                               Below Waist
                                                                               Personal Application:
                                                                               1.81 – 4.51 f/cc
3                    M65208-001    Kazan             JBP –           1957      376,000 s/g             N/A
                                                     Collector
                                                                               Tremolite
                                                                               Richterite

                                                                               Average Aspect
                                                                               Ratio: 10.5
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58           Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 109 of 179

    Photo          Container ID    Sender            Source     Vintage      Asbestos TEM           Asbestos PLM
4                  M65228-001 Kazan                JBP –        1994      445,000 s/g            N/A
                                                   Collector
                                                                          Tremolite
                                                                          Richterite

                                                                          Average Aspect
                                                                          Ratio: 7.9


5                  M65329-041    Lanier            JBP          1940-42   1,310,000 s/g          N/A

                                                                          Tremolite

                                                                          Average Aspect
                                                                          Ratio: 11.1



6                  M65329-043    Lanier            JBP          1927-39   938,000 s/g            N/A

                                                                          Tremolite

                                                                          Average Aspect
                                                                          Ratio: 9.0




7                  M66173-001    Lanier            JBP          1960      NAD                    N/A

                                                                          Fibrous Talc
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58           Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 110 of 179

     Photo          Container ID     Sender           Source     Vintage      Asbestos TEM           Asbestos PLM
8                   M66173-002 Lanier               JBP          1927-39   301,000 s/g            N/A

                                                                           Tremolite

                                                                           Average Aspect
                                                                           Ratio: 8.1




9                   M66173-003    Lanier            JBP          1945      4,120,000 s/g          N/A

                                                                           Tremolite
                                                                           Richterite

                                                                           Average Aspect
                                                                           Ratio: 11.7


10                  M66203-001    Lanier            JBP          1953-58   18,700 s/g             N/A

                                                                           Tremolite

                                                                           Average Aspect
                                                                           Ratio: 9.2




11                  M66203-002    Lanier            JBP          1960      NAD                    N/A

                                                                           Fibrous Talc
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 111 of 179

     Photo          Container ID     Sender           Source     Vintage     Asbestos TEM           Asbestos PLM
12                  M66203-003 Lanier               JBP          1960      NAD                   N/A
                                                                 37c
                                                                           Fibrous Talc




13                  M66203-004    Lanier            JBP          1953 or   NAD                   N/A
                                                                 prior




14                  M66203-006    Lanier            JBP          1953-58   9,120 s/g             N/A

                                                                           Tremolite

                                                                           Average Aspect
                                                                           Ratio: 5.9



15                  M66203-007    Lanier            JBP          1953-58   9,030 s/g             N/A

                                                                           Tremolite

                                                                           Average Aspect
                                                                           Ratio: 9.8
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 112 of 179

     Photo          Container ID     Sender           Source     Vintage     Asbestos TEM           Asbestos PLM
16                  M66309-002 Lanier               JBP          1953 or   NAD                   N/A
                                                                 prior
                                                                           Fibrous Talc




17                  M66309-003    Lanier            JBP          1950s     NAD                   N/A
                                                                 53c
                                                                           Fibrous Talc




18                  M66405-001    Lanier            JBP          1953 or   45,200 s/g            N/A
                                                                 prior
                                                                           Tremolite

                                                                           Average Aspect
                                                                           Ratio: 18.6



19                  M66405-002    Lanier            JBP          1953 or   NAD                   N/A
                                                                 prior
                                                                           Fibrous Talc
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 113 of 179

          Photo           Container ID     Sender          Source         Vintage       Asbestos TEM       Asbestos PLM
20                        M66203-005 Lanier              JBP              1953 or    37,000 s/g         N/A
                                                                          prior      Tremolite

                                                                                     Average Aspect
                                                                                     Ratio: 13.7




21                        M70484-001    SGP 487779       JBP – client     1994       NAD                ISO PLM:
                                                         Linda                                          NAD
                                                         Zimmerman
                                                                                                        PLM HLS Chrysotile:
                                                         Retailer:                                      0.01-0.10%
                                                         Thrifty (now
                                                         Rite Aid) or
                                                         Ralph’s
                                                         (Kroger)
22                        M71046-001    SGPB 10-23-17    JBP – client     1996       NAD                ISO PLM:
                                                         Marie Colley                                   NAD

                                                         Retailer:                                      PLM HLS Chrysotile:
                                                         client did not                                 0.002-0.01%
                                                         recall




Results           Italian              Vermont           JBP Total                  STS Total           All Total
MAS               11/18 = 61%          4/4 = 100%        15/22 = 68%                N/A                 15/22 = 68%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 114 of 179

              TABLE II – CONTAINERS FROM OUTSIDE J&J ARCHIVE POST 2003 (CHINESE)

    Photo          Container ID   Sender             Source      Vintage    Asbestos TEM        Asbestos PLM
1                  M66507-001 SGPB 11-28-16(1)     JBP – Client 2004       NAD               CSM PLM w/ HLS
                                                   Gail Koretoff                             Chrysotile:
                                                                                             0.0003-0.001%
                                                   Retailer:                                 51 bundles
                                                   CVS                                       779,600 bundles p/g




2                  M66508-001    SGPB 1-28-17(1)   JBP – Off the 2017      NAD               CSM PLM w/ HLS
                                                   shelf                                     Chrysotile:
                                                                                             0.001-0.002%
                                                   Retailer:                                 27 bundles
                                                   CVS                                       412,700 bundles p/g




3                  M66509-001    SGPB 1-28-17(2)   JBP – Off the 2017      NAD               CSM PLM w/ HLS
                                                   shelf                                     Chrysotile:
                                                                                             0.0002-0.001%
                                                   Retailer:                                 39 bundles
                                                   CVS                                       463,700 bundles p/g



4                  M66513-001    SGPB 3-21-17(4)   JBP – Client    2010    NAD               CSM PLM w/ HLS
                                                   Earl Wheeler                              Chrysotile:
                                                                                             0.0002-0.001%
                                                   Retailer:                                 17 bundles
                                                   Fred’s Dollar                             181,900 bundles p/g
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 115 of 179

    Photo          Container ID   Sender               Source         Vintage     Asbestos TEM           Asbestos PLM
5                  M66515-001 SGPB 4-19-17(6)       JBP – Client     2012       8,740 s/g             PLM/HLS Chrysotile:
                                                    Pauline                                           0.01-0.10 %
                                                    Citizen                     Tremolite

                                                    Retailer:                   Average Aspect
                                                    Usually                     Ratio: 28.6
                                                    Dollar Store
                                                    or Family
                                                    Dollar
6                  M66516-001    SGPB 4-1-17(7)     JBP – Client     2012       8,690 s/g             N/A
                                                    Pauline
                                                    Citizen                     Tremolite

                                                    Retailer:                   Average Aspect
                                                    Usually                     Ratio: 9.3
                                                    Dollar Store
                                                    or Family
                                                    Dollar
7                  M68379-001    SGPB 11-22-17(1)   JBP – Client     2004       NAD                   N/A
                                                    JoAnne
                                                    Anderson                    Fibrous Talc

                                                    Retailer:
                                                    client did not
                                                    recall



8                  M68379-002    SGPB 11-22-17(2)   JBP – Client     2004       7,160 s/g             N/A
                                                    JoAnne
                                                    Anderson                    Tremolite

                                                    Retailer:
                                                    client did not
                                                    recall
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58             Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 116 of 179

     Photo          Container ID     Sender           Source          Vintage    Asbestos TEM          Asbestos PLM
9                   M66352-001 Lanier               JBP – client     2012       NAD                 N/A
                                                    Krystal Kim

                                                    Retailer:
                                                    client did not
                                                    recall



10                  M66352-002    Lanier            JBP – client     2014       17,200 s/g          N/A
                                                    Krystal Kim
                                                                                Tremolite
                                                    Retailer:
                                                    client did not              Average Aspect
                                                    recall                      Ratio: 8.8



11                  M68483-001    SGPB 188908       JBP – Client     2012       NAD                 N/A
                                                    Nancy
                                                    Cabibi

                                                    Retailers:
                                                    client did not
                                                    recall


12                  M67420-001    #1 Lanier         JBP – Off the 2017          NAD                 CSM PLM w/ HLS
                                                    shelf                                           Chrysotile:
                                                                                                    0.0002-0.0008%
                                                    Retailer:                                       30 bundles
                                                    Imperial                                        428,000 bundles p/g
                                                    Westwood
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 117 of 179

     Photo          Container ID    Sender             Source      Vintage    Asbestos TEM          Asbestos PLM
13                  M67420-002 #2 Lanier            JBP – Off the 2017       NAD                 CSM PLM w/ HLS
                                                    shelf                                        Chrysotile:
                                                                                                 0.0002-0.0006%
                                                    Retailer:                                    32 bundles
                                                    Imperial                                     489,100 bundles p/g
                                                    Westwood




14                  M67420-003    #3 Lanier         STS – Off    Pre 2012    18,800 s/g          N/A
                                                    the shelf
                                                                 Purchased   Anthophyllite
                                                    Retailer:    2017
                                                    Imperial                 Average Aspect
                                                    Westwood                 Ratio: 22.1




15                  M67420-004    #4 Lanier         JBP – Off the 2017       NAD                 CSM PLM w/ HLS
                                                    shelf                                        Chrysotile:
                                                                                                 0.0002-0.0005%
                                                    Retailer:                                    28 bundles
                                                    Westside                                     332,900 bundles p/g
                                                    Medical
                                                    Pharmacy


16                  M67420-005    #5 Lanier         JBP – Off the 2017       NAD                 CSM PLM w/ HLS
                                                    shelf                                        Chrysotile:
                                                                                                 0.0002-0.001%
                                                    Retailer:                                    43 bundles
                                                    Westside                                     460,100 bundles p/g
                                                    Medical
                                                    Pharmacy
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58         Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 118 of 179

     Photo          Container ID   Sender              Source      Vintage    Asbestos TEM         Asbestos PLM
17                  M65329-013 MAS                  JBP – Off the 2016       NAD                CSM PLM w/ HLS
                                                    shelf                                       Chrysotile:
                                                    (Control)                                   0.0005-0.0008%
                                                                                                27 bundles
                                                    Retailer:                                   288,900 bundles p/g
                                                    Publix



18                  M70484-002    SGP 445997        JBP – client   2014      NAD                ISO PLM:
                                                    Linda                                       NAD
                                                    Zimmerman
                                                                                                PLM HLS Chrysotile:
                                                    Retailer:                                   0.001-0.01%
                                                    CVS, Rite
                                                    Aid,
                                                    Albertson’s


19                  M70877-001    Kazan 001         JBP – client   2012      NAD                ISO PLM:
                                                    Dan Doyle                                   NAD

                                                    Retailer:                                   Blount PLM:
                                                    Usually                                     NAD
                                                    Kroger’s
                                                                                                PLM HLS Chrysotile:
                                                                                                0.01-0.02%


20                  M70877-002    Kazan 002         JBP – client   2010      6,610 s/g          ISO PLM:
                                                    Dan Doyle                                   NAD
                                                                             Tremolite
                                                    Retailer:                                   Blount PLM:
                                                    Usually                  Average Aspect     NAD
                                                    Kroger’s                 Ratio: 7.3
                                                                                                PLM HLS Chrysotile:
                                                                                                0.002-0.004%
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 119 of 179

     Photo          Container ID      Sender           Source       Vintage    Asbestos TEM      Asbestos PLM
21                  M71095-001 Simmons              JBP – client   2014       NAD             ISO PLM:
                                 Lot#0826RA         Janet Titley                              0.005-0.007%
                                                                                              Chrysotile
                                                                                              Blount PLM w/ HLS:
                                                                                              NAD
                                                                                              CSM PLM w/ HLS
                                                                                              Chrysotile:
                                                                                              0.001-0.002%

22                  M71166-001    MAS               JBP – Off the Purchased   N/A             ISO PLM:
                                                    shelf         2020                        0.006-0.008%
                                                                  ©2018                       Chrysotile
                                                    Retailer:                                 Blount PLM w/ HLS:
                                                    CVS                                       NAD
                                                                                              CSM-PLM w/ HLS
                                                                                              Chrysotile:
                                                                                              0.0015-0.0017%

23                  M71166-002    MAS               JBP – Off the Purchased   N/A             ISO PLM:
                                                    shelf         2020                        0.009-0.010%
                                                                  ©2019                       Chrysotile
                                                    Retailer:                                 Blount PLM w/ HLS:
                                                    CVS                                       NAD
                                                                                              CSM-PLM w/ HLS
                                                                                              Chrysotile:
                                                                                              0.0013-0.0030%

24                  M71166-003    MAS               JBP – Off the Purchased   N/A             ISO PLM:
                                                    shelf         2020                        0.009-0.010%
                                                                  ©2019                       Chrysotile
                                                    Retailer:                                 Blount PLM w/ HLS:
                                                    Walgreens                                 NAD
                                                                                              CSM-PLM w/ HLS
                                                                                              Chrysotile:
                                                                                              0.0012-0.0026%
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 120 of 179

     Photo          Container ID       Sender          Source      Vintage      Asbestos TEM      Asbestos PLM
25                  M71180-001 Humphrey,            JBP – Off the Purchased   N/A              ISO PLM:
                                 Farrington &       shelf         2020                         0.007-0.010%
                                 McLain                                                        Chrysotile
                                                    Retailer:                                  Blount PLM w/ HLS:
                                                    Target                                     NAD
                                                                                               CSM-PLM w/ HLS
                                                                                               Chrysotile:
                                                                                               0.0016-0.0030%

26                  M71211-001    Weitz             JBP – Off the 2019        N/A              ISO PLM w/o HLS:
                                                    shelf from                                 0.004-0.006%
                    20200342-01                     client Holly                               Chrysotile
                                                    Johnson                                    CSM/ISO PLM w/
                                                                                               HLS Chrysotile:
                                                    Retailer:                                  0.001-0.002%
                                                    Walmart.com


27                  M71211-002    Weitz             JBP – Off the 2019        N/A              ISO PLM w/o HLS:
                                                    shelf from                                 0.003-0.005%
                    20200342-02                     client Holly                               Chrysotile
                                                    Johnson                                    CSM/ISO PLM w/
                                                                                               HLS Chrysotile:
                                                    Retailer:                                  0.001-0.002%
                                                    Walmart.com


28                  M71211-003    Weitz             JBP – Off the 2019        N/A              ISO PLM w/o HLS:
                                                    shelf from                                 0.003-0.005%
                    20200342-03                     client Holly                               Chrysotile
                                                    Johnson                                    CSM/ISO PLM w/
                                                                                               HLS Chrysotile:
                                                    Retailer:                                  0.001%
                                                    Kents
                                                    Grocery
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 121 of 179

     Photo          Container ID     Sender             Source     Vintage     Asbestos TEM      Asbestos PLM
29                  M71211-004 Weitz                JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.003-0.005%
                    20200342-04                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.0009-0.001%
                                                    Kents
                                                    Grocery

30                  M71211-005    Weitz             JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.003-0.006%
                    20200342-05                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Maceys
                                                    Grocery

31                  M71211-006    Weitz             JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.003-0.004%
                    20200342-06                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Maceys
                                                    Grocery

32                  M71211-007    Weitz             JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.003-0.005%
                    20200342-07                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Walmart.com
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 122 of 179

     Photo          Container ID     Sender             Source     Vintage     Asbestos TEM      Asbestos PLM
33                  M71211-008 Weitz                JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.004-0.007%
                    20200342-08                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Walmart.com


34                  M71211-009    Weitz             JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.004-0.006%
                    20200342-09                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Amazon


35                  M71211-010    Weitz             JBP – Off the 2019       N/A              ISO PLM w/o HLS:
                                                    shelf from                                0.004-0.006%
                    20200342-10                     client Holly                              Chrysotile
                                                    Johnson                                   CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                    Retailer:                                 0.001-0.002%
                                                    Amazon


36                  M71216-001    Kazan             JBP – Off the 2019       N/A              ISO PLM w/o HLS
                                                    shelf                                     Chrysotile:
                                                                                              0.007-0.009%
                                                    Retailer:                                 20 bundles
                                                    Lucky in                                  214,000 bundles p/g
                                                    Danville, CA                              CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                                                              0.001-0.002%
                                                                                              23 bundles
                                                                                              273,000 bundles pg/
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 123 of 179

     Photo          Container ID    Sender             Source      Vintage     Asbestos TEM      Asbestos PLM
37                  M71216-002 Kazan                JBP – Off the 2019       N/A              ISO PLM w/o HLS
                                                    shelf                                     Chrysotile:
                                                                                              0.006-0.008%
                                                    Retailer:                                 16 bundles
                                                    Lucky in                                  190,000 bundles p/g
                                                    Danville, CA                              CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                                                              0.0009-0.001%
                                                                                              19 bundles
                                                                                              254,000 bundles p/g
38                  M71241-001    MAS               JBP – Off the 2018       N/A              ISO PLM w/o HLS
                                                    shelf                                     Chrysotile:
                                                                                              NAD
                                                    Retailer:                                 CSM/ISO PLM w/
                                                    Ralphs                                    HLS Chrysotile:
                                                                                              0.0007-0.001%
                                                                                              11 bundles
                                                                                              168,142 bundles p/g


39                  M71241-002    MAS               JBP – Off the 2018       N/A              ISO PLM w/o HLS
                                                    shelf                                     Chrysotile:
                                                                                              0.004-0.006%
                                                    Retailer:                                 9 bundles
                                                    Ralphs                                    80,400 bundles p/g
                                                                                              CSM/ISO PLM w/
                                                                                              HLS Chrysotile:
                                                                                              0.001-0.002%
                                                                                              23 bundles
                                                                                              273,000 bundles p/g
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 124 of 179

          Photo          Container ID   Sender                Source      Vintage      Asbestos TEM      Asbestos PLM
40                       M71241-003 MAS                    JBP – Off the 2018        N/A              ISO PLM w/o HLS
                                                           shelf                                      Chrysotile:
                                                                                                      0.005-0.006%
                                                           Retailer:                                  16 bundles
                                                           Ralphs                                     190,600 bundles p/g
                                                                                                      CSM/ISO PLM w/
                                                                                                      HLS Chrysotile:
                                                                                                      0.001%
                                                                                                      23 bundles
                                                                                                      307,600 bundles p/g

Results              Chinese                 JBP Total                  STS Total                 All Total
MAS                  37/40 = 93%             36/39 = 92%                1/1 = 100%                37/40 = 93%
                    Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                              Exhibit Exhibits 1-8 to Satterley Declaration Page 125 of 179

                  TABLE III – VALEANT CONTAINERS FROM OUTSIDE J&J ARCHIVE POST 2003 (CHINESE)

          Photo            Container ID   Sender               Source       Vintage     Asbestos TEM         Asbestos PLM
1                          M66510-001 SGPB 2-27-17(3)       S2S – Client   2013       18,200 s/g          N/A
                                                            John Currie
                                                                                      Actinolite
                                                            Retailer:                 Richterite
                                                            Usually
                                                            Walmart                   Average Aspect
                                                                                      Ratio: 33.2


2                          M66511-001    SGPB 3-7-17(1)     S2S – Off the 2017        NAD                 N/A
                                                            shelf

                                                            Retailer:
                                                            Walmart




3                          M66512-001    SGPB 3-21-17(2)    S2S – Client   2013       8,800 s/g           N/A
                                                            Earl Wheeler
                                                                                      Richterite
                                                            Retailer:
                                                            Dollar                    Average Aspect
                                                            General,                  Ratio: 10.0
                                                            Fred’s
                                                            Dollar, or
                                                            Walmart


Results                    Chinese                         STS Total                      All Total
MAS                        2/3 = 67%                       2/3 = 67%                      2/3 = 67%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 126 of 179

                             TABLE IV – J&J ARCHIVE CONTAINERS (U.S.)

    Photo         Container ID   MAS Sample ID  Sender        Vintage        Asbestos TEM        Asbestos PLM
1                 2018-0060-04   M68503-010    MDL         1960           31,400 s/g          ISO:
                  JBP 167                                                                     NAD
                                                                          Tremolite
                                                                                              Blount:
                                                                          Average Aspect      <0.1 Trem/Act
                                                                          Ratio:
                                                                          9.1


2                 2018-0060-03   M68503-009     MDL        1962           17,700 s/g          ISO:
                  JBP 166                                                                     NAD
                                                                          Tremolite
                                                                                              Blount:
                                                                                              <0.1 Trem/Act
                                                                          Average Aspect
                                                                          Ratio:
                                                                          6.8


3                 2018-0060-76   M68503-024     MDL        1963           NAD                 NAD
                  JBP 119




4                 2018-0056-25   M68503-004     MDL        1964           NAD                 ISO:
                  JBP 232                                                                     <0.1 Trem/Act

                                                                                              Blount:
                                                                                              NAD
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 127 of 179

    Photo         Container ID   MAS Sample ID  Sender        Vintage        Asbestos TEM      Asbestos PLM
5                 2018-0060-20   M68503-014    MDL         1965           17,300 s/g         NAD
                  JBP 183
                                                                          Tremolite

                                                                          Average Aspect
                                                                          Ratio:
                                                                          8.0


6                 2018-0060-06   M68503-011     MDL        1966           NAD                NAD
                  JBP 169




7                 2018-0061-09   M68503-027     MDL        1966           NAD                NAD
                  STS 043




8                 2018-0060-44   M68503-019     MDL        1967           8,930 s/g          NAD
                  JBP 087
                                                                          Anthophyllite

                                                                          Average Aspect
                                                                          Ratio:
                                                                          20.0
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 128 of 179

     Photo         Container ID   MAS Sample ID  Sender        Vintage        Asbestos TEM       Asbestos PLM
9                  2018-0056-31   M69042-003    MDL         1967           18,000 s/g         ISO:
                   JBP 238                                                                    <0.1 Trem/Act
                                                                           Tremolite          <0.1 Anth
                                                                           Anthophyllite
                                                                                              Blount:
                                                                           Average Aspect     <0.1 Trem/Act
                                                                           Ratio:             <0.1 Anth
                                                                           9.2

10                 2018-0060-25   M69042-005     MDL        1967           NAD                NAD
                   JBP 188




11                 2018-0060-49   M69042-006     MDL        1967           NAD                NAD
                   JBP 092




12                 2018-0060-50   M69042-007     MDL        1967           NAD                NAD
                   JBP 093
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58         Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 129 of 179

     Photo         Container ID   MAS Sample ID  Sender        Vintage       Asbestos TEM         Asbestos PLM
13                 2018-0061-40   M68503-038    MDL         1968           NAD                  NAD
                   STS 004




14                 2018-0061-08   M68503-026     MDL        1969           268,000 s/g          ISO:
                   STS 042                                                                      <0.1 Trem/Act
                                                                           Tremolite
                                                                                                Blount:
                                                                           Average Aspect       <0.1 Trem/Act
                                                                           Ratio: 8.7




15                 2018-0056-30   M68503-005     MDL        1970           NAD                  NAD
                   JBP 237




16                 2018-0060-68   M69042-009     Levy       1970           NAD                  ISO:
                   JBP 111                       (MDL)                                          <0.1 Trem/Act

                                                                                                Blount:
                                                                                                NAD
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 130 of 179

     Photo         Container ID   MAS Sample ID  Sender        Vintage       Asbestos TEM        Asbestos PLM
17                 2018-0061-17   M68503-029    MDL         1971           NAD                 NAD
                   STS 051




18                 2018-0060-54   M68503-021     MDL        1972           NAD                 NAD
                   JBP 097




19                 2018-0060-64   M68503-023     MDL        1973           8,760 s/g           ISO:
                   JBP 107                                                                     <0.1 Anth
                                                                           Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Anth
                                                                           Ratio:
                                                                           10.7


20                 2018-0061-12   M68503-028     MDL        1974           17,500 s/g          ISO:
                   STS 046                                                                     NAD
                                                                           Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Anth
                                                                           Ratio:
                                                                           10.5
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 131 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage       Asbestos TEM         Asbestos PLM
21                 2018-0061-     02D           J3 (MDL)    1975           NAD                 ISO:
                   02D                                                                         NAD (J3)
                   STS 1611A
                   (STS 36)                                                                    Blount:
                                                                                               NAD




22                 2018-0056-     M69042-001     Levy       1975           22,400 s/g          ISO:
                   02D                           (MDL)                                         <0.1 Trem/Act
                   JBP 209                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Trem/Act
                                                                           Ratio:
                                                                           21.7


23                 2018-0061-57   M68503-046     MDL        1975           NAD                 NAD
                   STS 021




24                 2018-0061-49   M68503-042     MDL        1976           23,600 s/g          ISO:
                   STS 013                                                                     <0.1 Trem/Act
                                                                           Anthophyllite       <0.1 Anth

                                                                           Average Aspect      Blount:
                                                                           Ratio:              <0.1 Trem/Act
                                                                           9.8
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 132 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage        Asbestos TEM        Asbestos PLM
25                 2018-0015-     M68233-001    MDL         1978           7,240 s/g           ISO:
                   01A1                         (Lanier)                                       <0.1 Trem/Act
                   JBP 084                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Trem/Act
                                                                           Ratio:
                                                                           7.6
                   2018-0015-     M68233-002                               22,130 s/g          ISO:
                   01A2                                                                        <0.1 Trem/Act
                   JBP 084                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Anth
                                                                           Ratio:
                                                                           19.4
26                 2018-0070-10   M68503-057     MDL        1977           8,360 s/g           ISO:
                   2014-001-                                                                   <0.1 Trem/Act
                   0612                                                    Tremolite           <0.1 Anth
                   JBP                                                                         Blount:
                                                                           Average Aspect      NAD
                                                                           Ratio:
                                                                           5.3


27                 2018-0060-53   M68503-020     MDL        1978           34,800 s/g          ISO:
                   JBP 096                                                                     <0.1 Trem/Act
                                                                           Anthophyllite       <0.1 Anth
                                                                           Tremolite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Trem/Act
                                                                           Ratio:
                                                                           13.8
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 133 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage        Asbestos TEM        Asbestos PLM
28                 2018-0056-06   M69042-002    Levy        1978           63,800 s/g          ISO:
                   JBP 213                      (MDL)                                          <0.1 Trem/Act
                                                                           Anthophyllite       <0.1 Anth

                                                                           Average Aspect      Blount:
                                                                           Ratio:              <0.1 Trem/Act
                                                                           14.0                <0.1 Anth



29                 2018-0056-34   M69042-004     Levy       1978           18,000 s/g          ISO:
                   JBP 241                       (MDL)                                         <0.1 Trem/Act
                                                                           Anthophyllite       <0.1 Anth

                                                                           Average Aspect      Blount:
                                                                           Ratio:              <0.1 Trem/Act
                                                                           21.9                <0.1 Anth



30                 2018-0060-67   M69042-008     Levy       1978           18,100 s/g          ISO:
                   JBP 110                       (MDL)                                         <0.1 Anth
                                                                           Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Anth
                                                                           Ratio:
                                                                           7.9


31                 2018-0070-     07D            J3         1978           82,000 s/g          ISO:
                   07D                           (MDL)                                         NAD (J3)
                   2014-001-                                               Anthophyllite
                   0397                                                                        Blount:
                   STS                                                     Average Aspect      0.2 Trem/Act
                                                                           Ratio:              0.5 Anth
                                                                           18.5
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 134 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage        Asbestos TEM        Asbestos PLM
32                 2018-0061-     15D           J3          1978           61,000 s/g          ISO:
                   15D STS 049                  (MDL)                                          NAD (J3)
                                                                           Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      0.3 Anth
                                                                           Ratio:
                                                                           20.0


33                 2018-0061-     50D            J3         1978           NAD                 ISO:
                   50D                           (MDL)                                         NAD (J3)
                   STS 1605A
                   STS 014                                                                     Blount:
                                                                                               <0.1 Anth




34                 2018-0070-16 M68503-059       MDL        1979           17,100 s/g          ISO:
                   2-14-001-1363                                                               <0.1 Trem/Act
                   JBP                                                     Anthophyllite       <0.1 Anth

                                                                           Average Aspect      Blount:
                                                                           Ratio:              <0.1 Trem/Act
                                                                           18.4                <0.1 Anth


35                 2018-0061-     10D            J3         1980           N/A                 ISO:
                   10D                           (MDL)                                         NAD (J3)
                   STS 044
                                                                                               Blount:
                                                                                               0.2 Trem/Act
                                                                                               <0.1 Anth
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 135 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage        Asbestos TEM        Asbestos PLM
36                 2018-0061-     38D           J3          1980           53,000 s/g          ISO:
                   38D                          (MDL)                                          NAD (J3)
                   STS 002                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      0.2 Tre/Act
                                                                           Ratio:              0.2 Anth
                                                                           9.6


37                 2018-0061-     63D            J3         1980           N/A                 ISO:
                   63D                           (MDL)                                         NAD (J3)
                   STS 027D
                                                                                               Blount:
                                                                                               0.2 Tre/Act
                                                                                               0.2 Anth



38                 2018-0061-     52D            J3         1981           70,000 s/g          ISO:
                   52D                           (MDL)                                         NAD (J3)
                   STS 016                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      0.2 Tre/Act
                                                                           Ratio:              0.5 Anth
                                                                           22.4


39                 2018-0061-     65D            J3         1981           95,000 s/g          ISO:
                   65D                           (MDL)                                         NAD (J3)
                   STS 029                                                 Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      0.2 Tre/Act
                                                                           Ratio:              0.2 Anth
                                                                           18.4
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 136 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage        Asbestos TEM       Asbestos PLM
40                 2018-0061-     37D           J3          1982           9,300 s/g          ISO:
                   37D                          (MDL)                                         NAD (J3)
                   STS 001                                                 Anthophyllite
                                                                                              Blount:
                                                                           Average Aspect     <0.1 Tre/Act
                                                                           Ratio:             <0.1 Anth
                                                                           6.1



41                 2018-0061-     45D            J3         1982           9,000 s/g          ISO:
                   45D                           (MDL)                                        NAD (J3)
                   STS 009                                                 Anthophyllite
                                                                                              Blount:
                                                                           Average Aspect     <0.1 Tre/Act
                                                                           Ratio:
                                                                           8.0

42                 2018-0061-     51D            J3         1982           NAD                ISO:
                   51D                           (MDL)                                        NAD (J3)
                   STS 1606A
                   STS 015                                                                    Blount:
                                                                                              <0.1 Tre/Act




43                 2018-0061-     66D            J3         1982           NAD                ISO:
                   66D                           (MDL)                                        NAD (J3)
                   STS 1610A
                   STS 030                                                                    Blount:
                                                                                              0.1 Tre/Act
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 137 of 179

     Photo         Container ID   MAS Sample ID   Sender       Vintage       Asbestos TEM         Asbestos PLM
44                 2018-0061-     21D           J3          1983           NAD                 ISO:
                   21D                          (MDL)                                          NAD (J3)
                   STS 1614A
                   STS 055                                                                     Blount:
                                                                                               <0.1 Tre/Act
                                                                                               <0.1 Anth




45                 2018-0051-34 M68503-001       MDL        1984           18,700 s/g          ISO:
                   JBP 294                                                                     <0.1 Tre/Act
                   *Twin pack.                                             Anthophyllite
                   Only 1 bottle                                           Tremolite           Blount:
                   selected for                                                                <0.1 Tre/Act
                   sampling by                                             Average Aspect
                   MDL. (See                                               Ratio:
                   note on COC                                             11.5
                   from MDL
                   split)
46                 2018-0070-86 M69042-010       Levy       1985           12,500 s/g          ISO:
                   2014.001.5102                 (MDL)                                         <0.1 Tre/Act
                   JBP                                                     Anthophyllite
                                                                                               Blount:
                                                                           Average Aspect      <0.1 Anth
                                                                           Ratio:
                                                                           11.5
47                 2018-0061-     31F            J3         1986           22,000 s/g          ISO:
                   31F                           (MDL)                                         NAD (J3)
                   STS 065                                                 Anthophyllite
                   “Regular”                                                                   Blount:
                   (Left)                                                  Average Aspect      0.3 Tre/Act
                                                                           Ratio:              <0.1 Anth
                                                                           16.6
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 138 of 179

          Photo          Container ID   MAS Sample ID   Sender      Vintage        Asbestos TEM        Asbestos PLM
48                       2018-0061-     31G           J3         1986           30,000 s/g          ISO:
                         31G                          (MDL)                                         NAD (J3)
                         STS 065                                                Anthophyllite
                         “Spice”
                                                                                                    Blount:
                         (Right)                                                Average Aspect
                                                                                                    <0.7 Tre/Act
                                                                                Ratio:
                                                                                21.8


49                       2018-0060-33   M68503-016    MDL        1994           NAD                 NAD
                         JBP 001




50                       2018-0060-38   M68503-017    MDL        1996           NAD                 NAD
                         JBP 006




Results           Italian               Vermont          JBP                  STS                  All Total
MAS               7/14 = 50%            29/36 = 81%      18/27 = 67%          18/23 = 78%          36/50 = 72%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 139 of 179

                             TABLE V – J&J ARCHIVE CONTAINERS (ASIA)

    Photo         Container ID   MAS Sample ID   Sender      Vintage        Asbestos TEM        Asbestos PLM
1                 2018-0060-     M69248-001    Levy        Unknown        NAD                 NAD
                  36D                          (MDL)
                  JBP 004                                  Asian




2                 2014.001.3718 M69248-002      Levy       1979           29,100 s/g          PLM:
                  2018-0070-                    (MDL)                                         NAD
                  28D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      <0.1 Trem/Act
                                                                          Ratio:
                                                                          8.2



3                 2014.001.3918 M69248-003      Levy       1980-1984      65,100 s/g          PLM:
                  2018-0070-                    (MDL)                                         NAD
                  29D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      0.3 Trem/Act
                                                                          Ratio:
                                                                          9.1
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58        Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 140 of 179

    Photo         Container ID MAS Sample ID   Sender        Vintage         Asbestos TEM       Asbestos PLM
4                 2014.001.0499 M69248-004   Levy          Unknown        17,600 s/g          PLM:
                  2018-0070-                 (MDL)                                            NAD
                  39D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      0.1 Trem/Act
                                                                          Ratio:
                                                                          6.2
5                 2014.001.2021 M69248-005      Levy       Unknown        35,100 s/g          PLM:
                  2018-0070-                    (MDL)                                         NAD
                  45D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      0.2 Trem/Act
                                                                          Ratio:
                                                                          10.0
6                 2014.001.3921 M69248-006      Levy       1982           35,000 s/g          PLM:
                  2018-0070-                    (MDL)                                         NAD
                  60D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      0.1 Trem/Act
                                                                          Ratio:
                                                                          13.9


7                 2014.001.5859 M69248-007      Levy       Unknown        45,400 s/g          PLM:
                  2018-0070-                    (MDL)                                         NAD
                  93D                                      Asian          Tremolite
                  JBP                                                                         Blount:
                                                                          Average Aspect      <0.1 Trem/Act
                                                                          Ratio:
                                                                          10.1
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 141 of 179

          Photo         Container ID   MAS Sample ID   Sender        Vintage            Asbestos TEM         Asbestos PLM
8                       2014.1.3298    M69925-001    SGP          1970-1980          17,300 s/g            PLM:
                        2018-0070-                   (MDL)                                                 NAD
                        23A                                       Philippines        Tremolite
                        JBP                                                                                Blount:
                                                                                     Average Aspect        <0.1% Trem/Act
                                                                                     Ratio:
                                                                                     16.3


9                       2018-0060-     M69925-002         SGP     1996               NAD                   NAD
                        35A                               (MDL)
                        JBP 003                                   Philippines




Results              Asian                    JBP Total                  STS Total                    All Total
MAS                  7/9 = 78%                7/9 = 78%                  N/A                          7/9 = 78%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 142 of 179

                     TABLE VI – J&J ARCHIVE CONTAINERS (U.K. and AUSTRALIA)

    Photo         Container ID      MAS Sample ID   Sender      Vintage        Asbestos TEM         Asbestos PLM
1                2018-0061-72D      M70850-001    Levy       Late 1950s     6,000 s/g             NAD
                                                  (MDL)
                 U.K. Facility #3                            Made in Gt.    Tremolite
                                                             Britain        Fibrous Talc

                                                                            Average Aspect
                                                                            Ratio:
                                                                            32.4

2                2018-0061-73D      M70850-002    Levy       Late 1940s     26,300 s/g            NAD
                                                  (MDL)
                 U.K. Facility #1                            Made in Gt.    Tremolite
                                                             Britain        Fibrous Talc

                                                                            Average Aspect
                                                                            Ratio:
                                                                            13.2

3                2018-0061-74D      M70850-003    Levy       October 1966   NAD                   NAD
                                                  (MDL)
                 U.K. Facility #4                            Made in        Fibrous Talc
                                                             England




4                2019-0189-01D      M70850-004    Levy       1940           11,800 s/g            NAD
                 2014.1.5830                      (MDL)
                                                             Made in Gt.    Tremolite
                                                             Britain        Fibrous Talc

                                                                            Average Aspect
                                                                            Ratio:
                                                                            8.4
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 143 of 179

    Photo         Container ID   MAS Sample ID   Sender       Vintage         Asbestos TEM          Asbestos PLM
5                2019-0189-02D   M70850-005    Levy         Unknown         NAD                   NAD
                 2015.001.3449                 (MDL)
                                                            Made in Gt.     Fibrous Talc
                                                            Britain




6                2019-0189-04D   M70850-006      Levy       c. 1916         23,800 s/g            PLM:
                 2019.001.0020                   (MDL)                                            NAD
                                                            Made in Great   Tremolite
                                                            Britain                               Blount:
                                                                            Average Aspect        <0.1% Trem/Act
                                                                            Ratio:
                                                                            12.5

                                                                            Fibrous Talc
7                2019-0189-05D   M70850-007      Levy       1943            18,100 s/g            NAD
                 2019.001.0021                   (MDL)
                                                            Johnson &       Tremolite
                                                            Johnson (Gt.
                                                            Britain)        Average Aspect
                                                                            Ratio:
                                                                            11.2

                                                                            Fibrous Talc
8                2019-0189-35D   M70850-008      Levy       1983-1989       18,100 s/g            PLM:
                 2014.1.0145                     (MDL)                                            <0.1% Trem/Act
                                                            Johnson &       Tremolite
                                                            Johnson                               Blount:
                                                            Australia PTY   Average Aspect        <0.1% Trem/Act
                                                                            Ratio:
                                                                            7.8
             Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58            Desc
                       Exhibit Exhibits 1-8 to Satterley Declaration Page 144 of 179

     Photo         Container ID   MAS Sample ID   Sender        Vintage         Asbestos TEM         Asbestos PLM
9                 2018-0070-38D   M70850-009    Levy         1987/1989       12,000 s/g            NAD
                  2014.1.0403                   (MDL)
                                                             Johnson &       Tremolite
                                                             Johnson
                                                             Australia PTY   Average Aspect
                                                                             Ratio:
                                                                             10.8


10                2018-0070-13D   M70850-010      Levy       1980            17,900 s/g            PLM:
                  2014.1.0939                     (MDL)                                            NAD
                                                             Made in         Tremolite
                                                             England                               Blount:
                                                                             Average Aspect        <0.1% Trem/Act
                                                                             Ratio:
                                                                             11.2

                                                                             Fibrous Talc
11                2018-0070-19D   M70850-011      Levy       Unknown         NAD                   NAD
                  2014.1.2462                     (MDL)
                                                             Made in UK




12                2018-0070-30D   M70850-012      Levy       1972            NAD                   NAD
                  2014.1.3976                     (MDL)
                                                             Made in         Fibrous Talc
                                                             England
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58              Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 145 of 179

          Photo           Container ID     MAS Sample ID   Sender      Vintage         Asbestos TEM          Asbestos PLM
13                       2018-0070-80D     M70850-013    Levy       1940s           5,960 s/g              NAD
                         2015.1.3448                     (MDL)
                                                                    Made in Gt.     Tremolite
                                                                    Britain
                                                                                    Average Aspect
                                                                                    Ratio:
                                                                                    7.8

                                                                                    Fibrous Talc

Results           U.K.                   Australian        JBP Total              STS Total               All Total
MAS               7/11 = 64%             2/2 = 100%        8/12 = 67%             1/1 = 100%              9/13 = 69%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58             Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 146 of 179

              TABLE VII – CONTAINERS FROM OUTSIDE J&J ARCHIVE – UNITED KINGDOM

    Photo          Container ID       Sender           Source        Vintage     Asbestos TEM         Asbestos PLM
1                  M70859-001 P2                   JBP – From       2002       <6,900 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.017-0.019%
                                                                                                   69 bundles
                                                                                                   921,000 bundles p/g
2                  M70859-002    P2                JBP – From       2002       <7,110 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.019-0.020%
                                                                                                   74 bundles
                                                                                                   1,002,000 bundles p/g
3                  M70859-003    P2                JBP – From       2002       <6,880 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.021-0.023%
                                                                                                   83 bundles
                                                                                                   713,000 bundles p/g
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58             Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 147 of 179

    Photo          Container ID       Sender           Source        Vintage     Asbestos TEM         Asbestos PLM
4                  M70859-004 P2                   JBP – From       2002       <7,240 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.018-0.019%
                                                                                                   73 bundles
                                                                                                   656,000 bundles p/g
5                  M70859-005    P2                JBP – From       2002       <6,960 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.013-0.014%
                                                                                                   58 bundles
                                                                                                   491,000 bundles p/g
6                  M70859-006    P2                JBP – From       2002       <7,260 s/g          Blount PLM w/ HLS:
                                                   client Chris                                    NAD
                                                   Powell (P2)
                                                                                                   ISO PLM w/o HLS
                                                   Retailer:                                       Chrysotile:
                                                   direct from                                     In progress
                                                   J&J UK                                          CSM-PLM w/ HLS
                                                   office/factory                                  Chrysotile:
                                                                                                   0.016-0.018%
                                                                                                   63 bundles
                                                                                                   592,000 bundles p/g
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58               Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 148 of 179

          Photo          Container ID       Sender           Source         Vintage      Asbestos TEM         Asbestos PLM
7                        M70859-007 P2                   JBP – From        2002        <6,860 s/g          Blount PLM w/ HLS:
                                                         client Chris                                      NAD
                                                         Powell (P2)
                                                                                                           ISO PLM w/o HLS
                                                         Retailer:                                         Chrysotile:
                                                         direct from                                       In progress
                                                         J&J UK                                            CSM-PLM w/ HLS
                                                         office/factory                                    Chrysotile:
                                                                                                           0.016-0.018%
                                                                                                           71 bundles
                                                                                                           691,000 bundles p/g
8                        M70859-008    P2                JBP – From        2002        <6,800 s/g          Blount PLM w/ HLS:
                                                         client Chris                                      NAD
                                                         Powell (P2)
                                                                                                           ISO PLM w/o HLS
                                                         Retailer:                                         Chrysotile:
                                                         direct from                                       In progress
                                                         J&J UK                                            CSM-PLM w/ HLS
                                                         office/factory                                    Chrysotile:
                                                                                                           0.018-0.020%
                                                                                                           70 bundles
                                                                                                           1,070,000 bundles p/g
9                        M70859-009    P2                JBP – From        2002        <7,130 s/g          Blount PLM w/ HLS:
                                                         client Chris                                      NAD
                                                         Powell (P2)
                                                                                                           ISO PLM w/o HLS
                                                         Retailer:                                         Chrysotile:
                                                         direct from                                       In progress
                                                         J&J UK                                            CSM-PLM w/ HLS
                                                         office/factory                                    Chrysotile:
                                                                                                           0.015-0.016%
                                                                                                           59 bundles
                                                                                                           486,000 bundles p/g

Results              UK                     Chinese                       JBP Total                   All Total
MAS                  9/9 = 100%             9/9 = 100%                    9/9 = 100%                  9/9 = 100%
            Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                      Exhibit Exhibits 1-8 to Satterley Declaration Page 149 of 179

            TABLE VIII – CONTAINERS FROM OUTSIDE J&J ARCHIVE - ARGENTINA (BRAZIL)

    Photo          Container ID     Sender            Source      Vintage    Asbestos TEM       Asbestos PLM
1                  M71228-001 Kelly Uustal         JBP – Off the 2017       NAD              Blount PLM w/ HLS:
                                                   shelf                                     NAD

                                                   Retailer:                                 ISO PLM w/o HLS
                                                   Farmacia                                  Chrysotile:
                                                   Botanica in                               0.016-0.017%
                                                   Argentina                                 53 bundles
                                                                                             567,000 bundles p/g
                                                                                             CSM-PLM w/ HLS
                                                                                             Chrysotile:
                                                                                             0.005-0.006%
                                                                                             70 bundles
                                                                                             749,000 bundles p/g
2                  M71228-002    Kelly Uustal      JBP – Off the 2017       NAD              Blount PLM w/ HLS:
                                                   shelf                                     NAD

                                                   Retailer:                                 ISO PLM w/o HLS
                                                   Super Clin in                             Chrysotile:
                                                   Argentina                                 0.009-0.012%
                                                                                             33 bundles
                                                                                             353,100 bundles p/g
                                                                                             CSM-PLM w/ HLS
                                                                                             Chrysotile:
                                                                                             0.003%
                                                                                             48 bundles
                                                                                             514,000 bundles p/g
                  Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                            Exhibit Exhibits 1-8 to Satterley Declaration Page 150 of 179

          Photo          Container ID     Sender            Source      Vintage    Asbestos TEM          Asbestos PLM
3                        M71228-003 Kelly Uustal         JBP – Off the 2017       NAD                 Blount PLM w/ HLS:
                                                         shelf                                        NAD

                                                         Retailer:                                    ISO PLM w/o HLS
                                                         Super Clin in                                Chrysotile:
                                                         Argentina                                    0.016-0.017%
                                                                                                      39 bundles
                                                                                                      464,000 bundles p/g
                                                                                                      CSM-PLM w/ HLS
                                                                                                      Chrysotile:
                                                                                                      0.004%
                                                                                                      63 bundles
                                                                                                      613,000 bundles p/g


Results              Brazil                        JBP Total                      All Total
MAS                  3/3 = 100%                    3/3 = 100%                     3/3 = 100%
                       Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58          Desc
                                 Exhibit Exhibits 1-8 to Satterley Declaration Page 151 of 179

                                             TABLE IX – IMERYS MDL SAMPLES

         Description       Container ID   MAS Sample ID     Sender    Vintage        Asbestos TEM              Asbestos PLM
1   West Windsor          2018-0314-03    M69751-037       Beasley   1989       59,000 s/g                 ISO:
    Grade 66              Imerys                           (MDL)                                           <0.1 Tre/Act
                                                                                                           Blount:
                                                                                                           <0.7 Tre/Act
2                         2018-0343-03A   M69757-005       Beasley   1990       27,000 s/g                 ISO:
                          Imerys                           (MDL)                                           <0.1 Tre/Act
                                                                                Anthophyllite              <0.1 Anth
                                                                                                           Blount:
                                                                                Average Aspect Ratio:      <0.1 Tre/Act
                                                                                11.1                       <0.1 Anth
3                         2018-0358-01A   M69757-007       Beasley   1990       39,000 s/g                 ISO:
                          Imerys                           (MDL)                                           <0.1 Tre/Act
                                                                                Anthophyllite Actinolite
                                                                                                           Blount:
                                                                                Average Aspect Ratio:      <0.1 Tre/Act
                                                                                11.1                       <0.1 Anth
4   West Windsor          2018-0320-01A   M69751-039       Beasley   1991       NAD                        NAD
    Grade 66              Imerys                           (MDL)

5   West Windsor          2018-0320-13A   M69751-040       Beasley   1991-      13,000 s/g                 ISO:
    Grade 96              Imerys                           (MDL)     1992                                  NAD
                                                                                Anthophyllite
                                                                                                           Blount:
                                                                                Average Aspect Ratio:      <0.1 Tre/Act
                                                                                11.1
6                         2018-0339-05    M69757-004       Beasley   1994       NAD                        NAD
                          Imerys                           (MDL)
7   West Windsor          2018-0313-02A   M69751-036       Beasley   1995       4,400 s/g                  NAD
    Grade 66              Imerys                           (MDL)
                                                                                Tremolite

                                                                                Average Aspect Ratio:
                                                                                35.0
                        Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58         Desc
                                  Exhibit Exhibits 1-8 to Satterley Declaration Page 152 of 179

          Description       Container ID   MAS Sample ID     Sender    Vintage         Asbestos TEM           Asbestos PLM
8                          2018-0344-04A   M69757-006       Beasley   1996       NAD                       NAD
                           Imerys                           (MDL)
9   Railcar & Bag Sample   2018-0315-      M69751-002       Beasley   1999       NAD                       NAD
    Grade 66               021A                             (MDL)
                           Imerys
10 Railcar & Bag Sample    2018-0315-01A   M69751-001       Beasley   2001-      4,400 s/g                 NAD
   West Windsor            Imerys                           (MDL)     2002
   Grade 66                                                                      Tremolite
                                                                                 Average Aspect Ratio:
                                                                                 8.8
11 Railcar & Bag Sample    2018-0316-      M69751-006       Beasley   Dec 2000   4,600 s/g                 ISO:
   West Windsor Float      020A                             (MDL)                                          NAD
   Feed                    Imerys                                                Tremolite
                                                                                                           Blount:
                                                                                 Average Aspect Ratio:     <0.1 Tre/Act
                                                                                 35.0
12 Railcar & Bag Sample    2018-0316-      M69751-007       Beasley   Feb 2000   8,700 s/g                 NAD
   West Windsor Float      021A                             (MDL)
   Feed                    Imerys                                                Tremolite

                                                                                 Average Aspect Ratio:
                                                                                 12.2
13 West Windsor            2018-0317-04A   M69751-038       Beasley   2000       NAD                       NAD
   Grade 66                Imerys                           (MDL)
14 Railcar & Bag Sample    2018-0315-      M69751-004       Beasley   2001       NAD                       NAD
   Silo Grade 66           040A                             (MDL)
                           Imerys
15 Railcar & Bag Sample    2018-0316-      M69751-008       Beasley   Jan 2003   NAD                       NAD
   West Windsor Float      022A                             (MDL)
   Feed                    Imerys

Results             All Total
MAS                 8/15 = 53%
                         Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                                   Exhibit Exhibits 1-8 to Satterley Declaration Page 153 of 179

                                          TABLE X – SUPRA H CHINESE TALC RETAINS

       Description        MAS Sample ID     BV/RJLG        Imerys Ore Lot    Sender   Asbestos TEM         Asbestos PLM
                                            Sample ID
1   Mill Guangxi Solid   M71109-001       BV No.                            Imerys    NAD             PLM w/o HLS Chrysotile:
    Sample                                A5152004-006A                     Mine                      0.007-0.01%
                                                                            Segrave                   Blount PLM w/ HLS
                                                                            (SGP)                     Trem/Act:
                                                                                                      NAD
                                                                                                      CSM-PLM w/ HLS
                                                                                                      Chrysotile:
                                                                                                      0.001-0.002%
2   Guangxi/crude        M71110-001       RJLG No.                          Imerys    NAD             PLM w/o HLS Chrysotile:
    Solid/loose powder                    3136120                           Mine                      0.008-0.01%
                                                                            Sanchez                   Blount PLM w/ HLS
                                                                            (SGP)                     Trem/Act:
                                                                                                      NAD
                                                                                                      CSM-PLM w/ HLS
                                                                                                      Chrysotile:
                                                                                                      0.001-0.002%
3   Mill Guangxi loose   M71111-001       RJLG No.        MVN C01315C2 J&J Retain     NAD             PLM w/o HLS Chrysotile:
    powder                                3138491                      (SGP)                          0.006-0.008%
                                                                                                      Blount PLM w/ HLS
                                                                                                      Trem/Act:
                                                                                                      NAD
                                                                                                      CSM-PLM w/ HLS
                                                                                                      Chrysotile:
                                                                                                      0.0010-0.0013%
4   Mill Guangxi loose   M71111-002       RJLG No.        MVN C01315C2 J&J Retain     NAD             PLM w/o HLS Chrysotile:
    powder                                313455                       (SGP)                          0.007-0.01%
                                                                                                      Blount PLM w/ HLS
                                                                                                      Trem/Act:
                                                                                                      NAD
                                                                                                      CSM-PLM w/ HLS
                                                                                                      Chrysotile:
                                                                                                      0.0010-0.0013%
                         Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                                   Exhibit Exhibits 1-8 to Satterley Declaration Page 154 of 179

       Description        MAS Sample ID      BV/RJLG       Imerys Ore Lot    Sender      Asbestos TEM        Asbestos PLM
                                            Sample ID
5   Mill Guangxi loose   M71111-003       RJLG No.        MVN C01315C2 J&J Retain        NAD            PLM w/o HLS Chrysotile:
    powder                                3140762                      (SGP)                            0.007-0.009%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0010-0.0014%
6   Mill Guangxi loose   M71111-004       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
    powder                                3141790                           (SGP)                       0.005-0.007%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0008-0.0011%
7   Mill Guangxi loose   M71111-005       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
    powder                                3143083                           (SGP)                       0.006-0.008%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0010-0.0013%
8   Mill Guangxi loose   M71111-006       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
    powder                                3144312                           (SGP)                       0.007-0.01%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0011-0.0012%
                         Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                                   Exhibit Exhibits 1-8 to Satterley Declaration Page 155 of 179

       Description        MAS Sample ID      BV/RJLG       Imerys Ore Lot    Sender      Asbestos TEM        Asbestos PLM
                                            Sample ID
9   Mill Guangxi loose   M71111-007       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
    powder                                3145361                           (SGP)                       0.007-0.009%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0013-0.0022%
10 Mill Guangxi loose    M71111-008       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
   powder                                 3147067                           (SGP)                       0.007-0.009%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0010-0.0013%
11 Mill Guangxi loose    M71111-009       RJLG No.        MVN S0246C2       J&J Retain   NAD            PLM w/o HLS Chrysotile:
   powder                                 3149010                           (SGP)                       0.006-0.008%
                                                                                                        Blount PLM w/ HLS
                                                                                                        Trem/Act:
                                                                                                        NAD
                                                                                                        CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.0013-0.0015%
12 Supra H               M71179-001       BV A1810394-    H04022-76         Chanel       N/A            PLM w/o HLS Chrysotile:
   RM-04/17/2012                          001C                              Retain                      0.008-0.01%
   87672                                                                    (SGP)                       CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.002-0.003%
13 Supra H               M71179-002       BV A1810394-    H12121-76         Chanel       N/A            PLM w/o HLS Chrysotile:
   RM-04/03/2012                          002C                              Retain                      0.009-0.01%
   87496                                                                    (SGP)                       CSM-PLM w/ HLS
                                                                                                        Chrysotile:
                                                                                                        0.002-0.003%
                    Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                              Exhibit Exhibits 1-8 to Satterley Declaration Page 156 of 179

      Description    MAS Sample ID      BV/RJLG       Imerys Ore Lot    Sender   Asbestos TEM         Asbestos PLM
                                       Sample ID
14 Supra H          M71179-003       BV A1810394-    H11239-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-03/09/2011                     003C                              Retain                    0.009-0.02%
   81621                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002-0.005%
15 Supra H          M71179-004       BV A1810394-    H11230-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-03/09/2011                     004C                              Retain                    0.009-0.02%
   81615                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002-0.005%
16 Supra H          M71179-005       BV A1810394-    H08240-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-03/09/11                       005C                              Retain                    0.008-0.01%
   81628                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002-0.004%
17 Supra H          M71179-006       BV A1810394-    H06250-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-03/09/2011                     006C                              Retain                    0.009-0.015%
   81622                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002-0.004%
18 Supra H          M71179-007       BV A1810394-    H05191-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-09/20/2013                     007C                              Retain                    0.007-0.01%
   94513                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
19 Supra H          M71179-008       BV A1810394-    H11239-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-01/25/2010                     008C                              Retain                    0.007-0.01%
   74696                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
20 Supra H          M71179-009       BV A1810394-    H03270-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-08/12/2010                     009C                              Retain                    0.008-0.01%
   78525                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
                    Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                              Exhibit Exhibits 1-8 to Satterley Declaration Page 157 of 179

      Description    MAS Sample ID      BV/RJLG       Imerys Ore Lot    Sender   Asbestos TEM         Asbestos PLM
                                       Sample ID
21 Supra H          M71179-010       BV A1810394-    H10130-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-01/04/2011                     010C                              Retain                    0.007-0.01%
   80529                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
22 Supra H          M71179-011       BV A1810394-    H01211-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-03/08/2011                     011C                              Retain                    0.008-0.01%
   81605                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002-0.003%
23 Supra H          M71179-012       BV A1810394-    H01281-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-05/24/2011                     012C                              Retain                    0.007-0.01%
   82777                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
24 Supra H          M71179-013       BV A1810394-    H06031-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-10/26/2011                     013C                              Retain                    0.008-0.01%
   85213                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.002%
25 Supra H          M71179-014       BV A1810394-    H11231-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-04/03/2012                     014C                              Retain                    0.007-0.01%
   87497                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.003%
26 Supra H          M71179-015       BV A1810394-    H08022-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-09/24/2012                     015C                              Retain                    0.008-0.01%
   89752                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001-0.002%
27 Supra H          M71179-016       BV A1810394-    H11082-76         Chanel    N/A             PLM w/o HLS Chrysotile:
   RM-12/21/2012                     016C                              Retain                    0.008-0.01%
   90871                                                               (SGP)                     CSM-PLM w/ HLS
                                                                                                 Chrysotile:
                                                                                                 0.001%
                           Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                                     Exhibit Exhibits 1-8 to Satterley Declaration Page 158 of 179

          Description       MAS Sample ID        BV/RJLG        Imerys Ore Lot    Sender   Asbestos TEM        Asbestos PLM
                                                Sample ID
28 Supra H                  M71179-017        BV A1810394-      H04223-76        Chanel    N/A            PLM w/o HLS Chrysotile:
   RM-09/09/2013                              017C                               Retain                   0.009-0.01%
   94514                                                                         (SGP)                    CSM-PLM w/ HLS
                                                                                                          Chrysotile:
                                                                                                          0.001-0.002%
29 Supra H                  M71179-018        BV A1810394-      H04223-76        Chanel    N/A            PLM w/o HLS Chrysotile:
   RM-05/20/2012                              018C                               Retain                   0.007-0.009%
   92890                                                                         (SGP)                    CSM-PLM w/ HLS
                                                                                                          Chrysotile:
                                                                                                          0.001%


Results                 All Total – Supra H Chinese Talc Ores
MAS                     29/29 = 100%
              Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58                  Desc
                        Exhibit Exhibits 1-8 to Satterley Declaration Page 159 of 179

                                                 SUMMARY TABLES

          TABLE I – CONTAINERS FROM OUTSIDE J&J ARCHIVE PRE 2003 U.S. (ITALIAN & VERMONT)

Results      Italian                Vermont               JBP Total                  STS Total             All Total
MAS          11/18 = 61%            4/4 = 100%            15/22 = 68%                N/A                   15/22 = 68%

              TABLE II – CONTAINERS FROM OUTSIDE J&J ARCHIVE POST 2003 U.S. (CHINESE)

Results          Chinese                    JBP Total                    STS Total                     All Total
MAS              37/40 = 93%                36/39 = 92%                  1/1 = 100%                    37/40 = 93%

           TABLE III – VALEANT CONTAINERS FROM OUTSIDE J&J ARCHIVE POST 2003 (CHINESE)

Results               Chinese                           STS Total                          All Total
MAS                   2/3 = 67%                         2/3 = 67%                          2/3 = 67%

                                  TABLE IV – J&J ARCHIVE CONTAINERS (U.S.)

Results      Italian                Vermont               JBP                        STS                   All Total
MAS          7/14 = 50%             29/36 = 81%           18/27 = 67%                18/23 = 78%           36/50 = 72%

                                  TABLE V – J&J ARCHIVE CONTAINERS (ASIA)

Results          Asian                      JBP Total                    STS Total                     All Total
MAS              7/9 = 78%                  7/9 = 78%                    N/A                           7/9 = 78%

                          TABLE VI – J&J ARCHIVE CONTAINERS (U.K. and AUSTRALIA)

Results      U.K.                   Australia             JBP Total                  STS Total             All Total
MAS          7/11 = 64%             2/2 = 100%            8/12 = 67%                 1/1 = 100%            9/13 = 69%

                TABLE VII – CONTAINERS FROM OUTSIDE J&J ARCHIVE – UNITED KINGDOM

Results          UK                       Chinese                       JBP Total                      All Total
MAS              9/9 = 100%               9/9 = 100%                    9/9 = 100%                     9/9 = 100%
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 160 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 161 of 179




                 Exhibit 7
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 162 of 179
                                                                                 4650

  1               SUPERIOR COURT OF THE STATE OF CALIFORNIA

  2                                COUNTY OF ALAMEDA

  3                     BEFORE THE HONORABLE STEPHEN KAUS

  4                                  DEPARTMENT 19

  5                              VIA ZOOM CONFERENCE

  6                                    ---O0O---

  7      CHRISTINA G. PRUDENCIO,

  8               Plaintiff,

  9      vs.                                     No. RG20061303

 10      JOHNSON & JOHNSON, et
         al.,
 11
               Defendants.
 12      ________________________/

 13
                      REPORTER'S TRANSCRIPT OF PROCEEDINGS
 14
                        (Trial - William E. Longo, Ph.D.)
 15
                              Thursday, July 1, 2021
 16
                                      Full Session
 17

 18

 19

 20            Taken before EARLY K. LANGLEY, B.A., RMR, RSA
                               CSR No. 3537
 21

 22

 23
        VOLUME 30
 24

 25     PAGES 4650 - 4832
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 163 of 179
                                                                                 4651

  1     APPEARANCES OF COUNSEL ON THE RECORD VIA ZOOM

  2     CONFERENCE:

  3

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 10     For the Defendants Johnson & Johnson, Johnson & Johnson
        Consumer Companies, Inc., Johnson & Johnson Inc., sii
 11     Johnson & Johnson Cons Companies:

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Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 164 of 179
                                                                                 4653

  1                INDEX - VOLUME 30 - (Pages 4650 - 4832)

  2                             INDEX OF EXAMINATIONS

  3                                  CHRONOLOGICAL

  4

  5     WILLIAM E. LONGO, Ph.D. (for the Plaintiff)
                                                                                 4679
  6             Direct Examination By Mr. Satterley
        (Cont'd)
  7                                                                              4798
                  Cross-Examination By Mr. Dubin
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       Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                 Exhibit Exhibits 1-8 to Satterley Declaration Page 165 of 179
                                                                                        4657

            1                                   --oOo--

            2                         P R O C E E D I N G S

            3                                   --oOo--

            4                 Thursday, July 1, 2021 - 8:25 p.m.

            5                  (Morning and Afternoon Combined)

            6             (The following proceedings were held in the

            7   virtual breakout room with counsel only outside the

            8   presence of the jury:)

            9             THE COURT:      All right.      So we're on the record

08:25:52   10   outside the presence of the jury before court in the

           11   Prudencio matter.       Mr. Satterley said we had a couple

           12   of noncontroversial things to discuss.

           13             MR. SATTERLEY:        So the noncontroversial part of

           14   it is, we've agreed to further meet and confer this

08:26:07   15   afternoon, spend as much time as necessary and,

           16   hopefully, narrow the scope of the objections, and then

           17   have a follow-up with Your Honor tomorrow whenever it's

           18   appropriate so that we can spend time going through the

           19   transcript in a little bit more detail with Your Honor

08:26:22   20   and explain some of our relative positions.

           21             And so with that being said, I don't think we

           22   have to make any arguments this morning or -- we,

           23   obviously, disagree about, you know, certain aspects.

           24             THE COURT:      That's fine.       I'm trying to -- so,

08:26:38   25   I mean, we talked about this in the last trial --
       Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                 Exhibit Exhibits 1-8 to Satterley Declaration Page 166 of 179
                                                                                        4784

            1        A.    Yes, sir.     And that's the -- that's the results

            2   they got when they changed the data a little bit.

            3        Q.    What do you mean, changed their data?

            4        A.    Well, the lab that they hired to analyze the

12:16:35    5   air samples called -- initially called the -- he found

            6   anthophyllite asbestos and initially called it

            7   anthophyllite asbestos and then was told by Exponent to

            8   change it to cleavage fragments.

            9        Q.    So even at that level, .004, is that 80 times

12:16:58   10   above the old background from the ATSDR from the 1980s?

           11        A.    Yes, sir, it is.

           12        Q.    Would that be substantial exposure, 80 times

           13   the background?

           14        A.    Yes, sir.     Anything over background is called a

12:17:13   15   substantial exposure, even using a background

           16   concentration of most like -- of chrysotile at 4 zeros

           17   and a 5.    So that is substantial exposure.

           18        Q.    I'd like for you to assume -- I think you've

           19   read it -- Dr. Hopkins, one of the corporate

12:17:31   20   representatives from J&J, testified that J&J's estimate

           21   was 4.5 fibers per cc.

           22              Assuming that to be the case -- and you read

           23   his testimony -- is that 90,000 times above background?

           24        A.    Yes, sir, it is.

12:17:48   25        Q.    A J&J diapering estimate of .18 fibers per
       Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                 Exhibit Exhibits 1-8 to Satterley Declaration Page 167 of 179
                                                                                        4785

            1   cc -- you've seen that document; correct?

            2        A.   Correct.

            3        Q.   Is that 3,600 times above background?

            4        A.   Yes, it is.

12:18:01    5        Q.   Is that substantial exposure to asbestos from

            6   diapering a baby?

            7        A.   It is.

            8        Q.   And then the Gordon paper that you told us --

            9   was the exposure assessment 1.9 fibers per cc from

12:18:15   10   asbestos from cosmetic talc?

           11        A.   Correct.

           12        Q.   And would that be 38,000 times above

           13   background, assuming a hypothetical background of

           14   .00005 fibers per cc?

12:18:29   15        A.   Yes, sir.

           16        Q.   And in your opinion, are all those substantial

           17   exposures to asbestos from cosmetic talc?

           18        A.   Yes, sir, it is.        With this hypothetical

           19   background or assuming that there really is --

12:18:45   20   hypothetically, that there is asbestos in the air all

           21   the time.

           22             But I have testified in the past that, you

           23   know, the real level is going to be less than whatever

           24   the detection limit is with the sample you run.                   You're

12:19:00   25   not going to find background unless there is a source
       Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
                 Exhibit Exhibits 1-8 to Satterley Declaration Page 168 of 179
                                                                                        4786

            1   of asbestos.

            2              And you won't have sources of asbestos, of

            3   tremolite/anthophyllite, because of the lack of

            4   products out there, unless you have a house that may

12:19:18    5   have vermiculite loose insulation and you're up there

            6   disturbing it.      But that means you have a source of

            7   asbestos.

            8        Q.    With regards to Ms. Prudencio, you evaluated

            9   that she was exposed to both Johnson & Johnson Baby

12:19:33   10   Powder and Longs Baby Powder when she was young;

           11   correct?

           12        A.    That is correct.

           13        Q.    And have you calculated the total personal uses

           14   based upon all the testimony you've read, all of the

12:19:49   15   interviews, all of the information you got?

           16        A.    Correct.    But that would include both the Longs

           17   and the -- and the J&J containers.

           18        Q.    I think we're going to break it down in a few

           19   minutes.

12:20:04   20        A.    Okay.

           21        Q.    If you could talk us through this chart here.

           22   What's your opinions about her exposures?

           23        A.    My opinions about her exposures, that between

           24   when her mother was diapering -- was changing her

12:20:18   25   diapers and bathing her, where she bathed her, and then
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 169 of 179
                                                                                 4832

  1     STATE OF CALIFORNIA           )

  2                                   )       ss.

  3     COUNTY OF ALAMEDA             )

  4

  5                I, EARLY K. LANGLEY, do hereby certify:

  6           That foregoing proceedings were held in the

  7     above-entitled action at the time and place therein

  8     specified;

  9           That said proceedings were taken before me at said

 10     time and place, and was taken down in shorthand by me,

 11     a Certified Shorthand Reporter of the State of

 12     California, and was thereafter transcribed into

 13     typewriting, and that the foregoing transcript

 14     constitutes a full, true and correct report of said

 15     proceedings that took place;

 16           IN WITNESS WHEREOF, I have hereunder subscribed my

 17     hand on July 1, 2021.

 18

 19

 20

 21

 22                              ________________________________
                                 EARLY K. LANGLEY, CSR No. 3537
 23                              State of California

 24

 25
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 170 of 179




                 Exhibit 8
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 171 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 172 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 173 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 174 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 175 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 176 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 177 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 178 of 179
Case 23-01092-MBK Doc 46-2 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
          Exhibit Exhibits 1-8 to Satterley Declaration Page 179 of 179
